 1   Bruce H Orr, OSB No. 813297
     Email: bho@wysekadish.com
 2   Wyse Kadish LLP
     900 SW Fifth Ave, Ste 2000
 3   Portland, OR 97204
     Phone: 503 228-8448
 4   Fax: 503 273-9135

 5   Attorney for Tasha Teherani-Ami, in her capacity as
     the trustee of the Sonja Dinihanian GST Trust DTS 1/1/11
 6

 7

 8

 9

10
                                UNITED STATES BANKRUPTCY COURT
11
                                   FOR THE DISTRICT OF OREGON
12
     In re:                                            )     Case Nos.
13                                                     )     19-31883-dwh11 (Lead case)
     15005 NW Cornell LLC and                          )     19-31886-dwh11
14                                                     )
     Vahan M. Dinihanian, Jr.                          )     Jointly Administered Under
15                                                     )     19-31883-dwh11
                                   Debtor(s).          )
16                                                     )     EXHIBIT LIST FOR TASHA
                                                       )     TEHERANI-AMI, IN HER CAPACITY
17                                                     )     AS THE TRUSTEE OF THE SONJA
                                                       )     DINIHANIAN GST TRUST DTS 1/1/11
18                                                     )     RE: OBJECTION TO CLAIMS
                                                       )
19                                                     )     Date of Hearing: November 22, 2021
                                                       )     Time of Hearing: 9:00 a.m.
20                                                     )     Judge: Hon. David W. Hercher

21            Tasha Teherani-Ami, in her capacity as the Trustee of the Sonja Dinihanian GST Trust
22   DTS 1/1/11 (hereinafter the “Trust”) by and through her attorney Bruce H. Orr, of Wyse Kadish
23   LLP, submits the following exhibit list and will file each exhibit on the docket as attachments to
24   this exhibit list.
25   ///
26   ///
PAGE 1- EXHIBITLIST FOR TASHA TEHERANI-AMI, IN HER                                 WYSE KADISH LLP
                                                                                          Suite 2000
CAPACITY AS THE TRUSTEE OF THE SONJA DINIHANIAN GST                                 900 SW Fifth Avenue
                                                                                   Portland, Oregon 97204
TRUST DTS 1/1/11 RE: OBJECTION TO CLAIMS                                                (503) 228-8448
                                                                                  Facsimile: (503) 273-9135


                          Case 19-31883-dwh11         Doc 493      Filed 11/22/21
 1                                           TRUST'S EXHIBIT LIST

 2    Exhibit      Description                               Ex or Dkt    Stip'd    Offered         Admit'd
      Ltr:
 3
                   Transcript of April 8, 2019 hearing in
 4       J         Partition Action (Wa Co Case No
                   18CV17059
 5
                   DEBTORS’ APPLICATION TO
 6                 EMPLOY BATEMAN SEIDEL P.C.
        J-1        AS ATTORNEYS IN
 7                 WASHINGTON COUNTY CASE
                   NO. 18CV17059
 8
                   RULE 2014 VERIFIED
 9                 STATEMENT FOR PROPOSED
        J-2
                   PROFESSIONAL signed by Gregory
10                 J. Miner, Bateman Seidel P.C.

11            The Trust reserves the right to submit additional exhibits at the time of trial for purposes

12   of impeachment and/or rebuttal.

13            Submitted this November 19, 2021              WYSE KADISH LLP
                                                             /s/ Bruce H. Orr
14                                                          Bruce H. Orr, OSB No. 813297
                                                            bho@wysekadish.com
15                                                          Attorneys for Tasha Teherani-Ami in her
                                                            capacity as the trustee of the Sonja
16                                                          Dinihanian GST Trust DTS 1/1/11

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26
PAGE 2- EXHIBITLIST FOR TASHA TEHERANI-AMI, IN HER                                   WYSE KADISH LLP
                                                                                            Suite 2000
CAPACITY AS THE TRUSTEE OF THE SONJA DINIHANIAN GST                                   900 SW Fifth Avenue
                                                                                     Portland, Oregon 97204
TRUST DTS 1/1/11 RE: OBJECTION TO CLAIMS                                                  (503) 228-8448
                                                                                    Facsimile: (503) 273-9135


                           Case 19-31883-dwh11           Doc 493     Filed 11/22/21
·1· · · · · ·IN THE CIRCUIT COURT OF THE STATE OF OREGON

·2· · · · · · · · · ·FOR THE COUNTY OF WASHINGTON

·3

·4·   ·15005 NW CORNELL LLC, an· · · · · ·)
· ·   ·Oregon Limited Liability· · · · · ·)
·5·   ·company,· · · · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · · · )
·6·   · · · · · · · Plaintiff,· · · · · · )
· ·   · · · · · · · · · · · · · · · · · · )
·7·   ·v.· · · · · · · · · · · · · · · · ·) Case No. 18CV17059
· ·   · · · · · · · · · · · · · · · · · · )
·8·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · · · · )
·9·   ·CORNELL RD. LLC, CHRISTIANA· · · · )
· ·   ·LLC, ALEXANDER LLC, Oregon· · · · ·)
10·   ·Limited Liability companies,· · · ·)
· ·   ·and TASHA L. DINIHANIAN (nka· · · ·)
11·   ·Tasha Teherani-Ami), an· · · · · · )                       www.LNScourtreporting.com




· ·   ·individual,· · · · · · · · · · · · )
12·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · ·Defendants.· · · · · · )
13

14· · · · · · · · · · TRANSCRIPT OF PROCEEDINGS

15· · · · · · ·BE IT REMEMBERED THAT, the above-entitled Court

16· ·and Cause came on regularly for hearing before the Honorable

17· ·Danielle J. Hunsaker, on Monday, April 8, 2019, at the

18· ·Washington County Courthouse, Courtroom 301-C, Hillsboro,

19· ·Oregon.

20

21

22

23

24· ·Proceedings recorded by digital sound recording; transcript

25· ·provided by Professional Reporter.




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                                                                                                 Exhibit J
                                                                                              Page 1 of 31
             Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 2


·1· · · · · · · · · · · · · ·APPEARANCES

·2·   ·BATEMAN SEIDEL MINER BLOMGREN CHELLIS & GRAM, PC
· ·   ·By: Gregory J. Miner; gminer@batemanseidel.com
·3·   ·888 SW Fifth Avenue, Suite 1250
· ·   ·Portland, Oregon 97204
·4·   ·(503)972-9920
· ·   ·Counsel for Plaintiff
·5

·6·   ·TIMOTHY J. MURPHY
· ·   ·By: Timothy J Murphy; tim@murphylawfirm.biz
·7·   ·811 SW Naito Parkway, Suite 500
· ·   ·Portland, Oregon 97204
·8·   ·(503)295-9550
· ·   ·Counsel for Defendant Tasha L. Dinihanian (aka Tasha
·9·   ·Teherani-Ami)

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                                                                                                   Exhibit J
                                                                                                Page 2 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                                Page 3


·1· · · · · · · · (Monday, April 8, 2019, 8:34 a.m.)
·2· · · · · · · · · · · P R O C E E D I N G S
·3· ·(Whereupon, the following proceedings were held in open
·4· ·court:)
·5· · · · · · ·THE COURT:· All right.· We're on the record for
·6· ·15005 NW Cornell, LLC v. Cornell Road, LLC, et al; this is
·7· ·18CV17059.
·8· · · · · · ·We're here this morning, for a hearing that I
·9· ·required, to address the former Ms. Dinihanian's scheduled
10· ·trustee sale of 15005 NW Cornell LLC's interest in the
11· ·subject property in this partition action.
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12· · · · · · ·I have read the objection that was filed by the
13· ·former Ms. Dinihanian's attorney.· I'm not gonna have you
14· ·reiterate everything that's in that briefing.· I'm familiar
15· ·with your arguments; spent some time over the weekend with
16· ·it.· I have some specific questions that I'm gonna ask, and
17· ·then I'll give you a few minutes to tell me anything that
18· ·you think I've missed or that you want to reiterate, from
19· ·your clients' positions.
20· · · · · · ·Before I do that, I do want to explain a little
21· ·bit, it was clear to me from the objection that was filed
22· ·that there's some confusion as to why we're here, because we
23· ·are in a sort of unusual procedural posture in this case.
24· ·And this is why.
25· · · · · · ·After your client, the former Ms. Dinihanian,



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                                                                                                      Exhibit J
                                                                                                   Page 3 of 31
               Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                                Page 4


·1· ·decided not to participate in the trial, it was argued to
·2· ·me, as part of the trial, that I had the equitable
·3· ·authority, sitting in this partition action, to enjoin the
·4· ·trustee sale, and that I should do so, as a matter of
·5· ·equity.
·6· · · · · · ·And I also noted that she had filed a counterclaim
·7· ·in this action; although, that was dismissed, I think, on
·8· ·the eve of trial, or very shortly before the trial started.
·9· ·So I was uncomfortable with the idea of taking any actions
10· ·related to a party that was not present when that argument
11· ·was made to me.
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12· · · · · · ·It was also suggested to me that perhaps the
13· ·former Ms. Dinihanian would not object to postponing the
14· ·sale of -- postponing the trustee sale, given all the
15· ·various family relationships at issue in this case and the
16· ·daughter's trust involved and other circumstances.
17· · · · · · ·And so for those reasons, it was important to me
18· ·to be able to hear from Ms. Dinihanian and her interests and
19· ·-- and her position here.· And so that's why we're here
20· ·today.
21· · · · · · ·I recognize, as I said, that this is a pretty
22· ·unusual procedural posture to be in, but it was important to
23· ·me, in terms of making decisions to at least hear her
24· ·position and understand where she's coming from and what
25· ·issues I need to be aware of, from her point of view.



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                                                                                                      Exhibit J
                                                                                                   Page 4 of 31
               Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                               Page 5


·1· · · · · · ·So with that, I have reviewed, as I said, your
·2· ·objection to the suggestion that the Court might postpone or
·3· ·temporarily stay the foreclosure sale.
·4· · · · · · ·I have reviewed the -- the judgment that was
·5· ·issued by the family law court in Multnomah County, and sort
·6· ·of how we get here.· I think it's clear to me, from the
·7· ·trial, that the whole reason that this is teed up now is
·8· ·because of the need to pay off the judgment that is owed, as
·9· ·required under the family law judgment.
10· · · · · · ·So here are my questions.
11· · · · · · ·And I'm not sure that you're the right counsel to
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12· ·answer these questions.· They probably relate more to her
13· ·family law attorney, but I'm hoping that you can give me
14· ·some insight on them.
15· · · · · · ·First one is, under the terms of that judgment, it
16· ·was clear that the daughter's trust was to get a deed,
17· ·confirming the trust's 25 percent undivided interest in this
18· ·property.
19· · · · · · ·And let me pull -- what was the trigger?
20· · · · · · ·MR. MINER:· It would -- if I may, Your Honor?
21· · · · · · ·THE COURT:· Nope, hold on.
22· · · · · · ·MR. MINER:· Okay.
23· · · · · · ·THE COURT:· So the trigger there was, if the other
24· ·owners didn't want to buy out Mr. Dinihanian, that that was
25· ·to happen; that the daughter's trust was to get the deed for



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                                                                                                     Exhibit J
                                                                                                  Page 5 of 31
            Case 19-31883-dwh11      Doc 493      Filed 11/22/21
                                                                                               Page 6


·1· ·a 25 percent interest, because this judgment clearly
·2· ·contemplates, the judgment is an obligation of
·3· ·Mr. Dinihanian; and the judgment clearly understands and
·4· ·contemplates that his interest in the property we're talking
·5· ·about is a 25 percent interest; not a 50 percent interest,
·6· ·because the other 25 percent is held by the daughter's
·7· ·trust.
·8· · · · · · ·So my question -- this is all a large lead up
·9· ·to -- the question is:· Why did your client not insist that
10· ·the 25 percent deed to the daughter's trust happen years
11· ·ago?
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12· · · · · · ·MR. MURPHY:· May I respond to that, Your Honor?
13· · · · · · ·THE COURT:· Yes.
14· · · · · · ·MR. MURPHY:· Your Honor, I -- I believe she has
15· ·recently requested that that happen.· I don't know what the
16· ·delay was in those intervening years.· I believe she can
17· ·testify to it, Your Honor, but -- but I believe she was
18· ·hoping that Mr. Dinihanian would -- would fulfill his
19· ·obligations under the judgment.
20· · · · · · ·We've asked him to do that, Your Honor, and I have
21· ·a warranty deed right here.· He can sign it right here.· He
22· ·can take it --
23· · · · · · ·THE COURT:· Well, I read the letter from Mr. Miner
24· ·responding to the request, and that is a recent request,
25· ·like last month, recent, March 2019.



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                                                                                                     Exhibit J
                                                                                                  Page 6 of 31
              Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 7


·1· · · · · · ·MR. MURPHY:· Yes, Your Honor.
·2· · · · · · ·THE COURT:· And his -- one of his primary
·3· ·responses to that is, well, you -- your client already has a
·4· ·50 percent deed of trust interest that she's in the middle
·5· ·of foreclosing, so why would he then do this second deed
·6· ·when she's foreclosing on a 50 percent interest?
·7· · · · · · ·So I'm back to, really confused, why does she have
·8· ·a 50 percent deed, at all, when the judgment indicated that
·9· ·Mr. Dinihanian's interest in this property is 25 percent?
10· · · · · · ·MR. MURPHY:· Your Honor, I -- I didn't negotiate
11· ·that; I can't tell you for sure.· But it was intended by the
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12· ·Court that Mr. Dinihanian convey -- caused the plaintiff
13· ·here, in this case, the LLC --
14· · · · · · ·THE COURT:· Right.
15· · · · · · ·MR. MURPHY:· -- to convey out a 25 percent
16· ·undivided interest to the trust.· We've asked him to do
17· ·that.· Through his attorney, Mr. Dinihanian responded that
18· ·he's not going to do that.· And I've -- I've --
19· · · · · · ·THE COURT:· So if he was to do that today --
20· · · · · · ·MR. MURPHY:· Yes.
21· · · · · · ·THE COURT:· -- what does that do for your trustee
22· ·sale that's scheduled for June?
23· · · · · · ·MR. MURPHY:· The -- the sale -- the sale still
24· ·remains on, but the important part is that, what Judge
25· ·Meisenheimer contemplated in the decree is that



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                                                                                                   Exhibit J
                                                                                                Page 7 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 8


·1· ·Mr. Dinihanian would separate out the daughter's trust
·2· ·interest in the property so that the foreclosure wouldn't
·3· ·impact the daughter's trust.· That's what would have -- that
·4· ·was the --
·5· · · · · · ·THE COURT:· So how would you accomplish that,
·6· ·though?· Because she's in the middle of foreclosing a deed
·7· ·of trust, that if he was to execute this 25 interest to the
·8· ·daughter's trust, the deed of trust that you're executing is
·9· ·inaccurate.· She can't go forward and foreclose on
10· ·50 percent of the property if 25 percent of it has already
11· ·been conveyed to the trust.
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12· · · · · · ·MR. MURPHY:· What she can do, Your Honor, she can
13· ·revise the amount of property that's gonna be foreclosed.
14· ·She can revise the notice to say that it's a 25 percent
15· ·interest that's being foreclosed.
16· · · · · · ·THE COURT:· And is that statutorily allowed --
17· · · · · · ·MR. MURPHY:· And it -- well, actually --
18· ·actually --
19· · · · · · ·THE COURT:· -- midstream?
20· · · · · · ·MR. MURPHY:· -- Your Honor, that doesn't even need
21· ·to happen, because once -- once the plaintiff conveys out
22· ·the 25 percent interest to the trust, then there's no
23· ·problem with the foreclosure going forward, because the
24· ·daughter's interest in it has been conveyed back to the --
25· ·to the trust.· And that's what we're trying to accomplish



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                                                                                                   Exhibit J
                                                                                                Page 8 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 9


·1· ·with this deed.
·2· · · · · · ·If Mr. Dinihanian signs that deed right now, that
·3· ·will take the daughter's trust completely out of the
·4· ·equation, and the foreclosure, at that point, will be all of
·5· ·the property that -- that Cornell, that 150 --
·6· · · · · · ·THE COURT:· The LLC holds.
·7· · · · · · ·MR. MURPHY:· That the LLC --
·8· · · · · · ·THE COURT:· Right?
·9· · · · · · ·MR. MURPHY:· -- holds, that -- that foreclosure
10· ·will foreclose that property.
11· · · · · · ·Once the property's deeded out, it won't be
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12· ·foreclosed; or if it is, my client, as trustee, of course,
13· ·is -- is -- or my client, individually, as a judgment
14· ·creditor, is free to release the lien of -- of the -- the
15· ·trust deed and the foreclosure, as to that partial.
16· · · · · · ·THE COURT:· So I'm back to, why hasn't your client
17· ·gone back to Multnomah County and filed an action to enforce
18· ·the judgment to make that happen?· Because under the
19· ·judgment, Multnomah County has jurisdiction for that, and
20· ·they specifically retain jurisdiction for that.
21· · · · · · ·MR. MURPHY:· Yes, I understand, Your Honor.
22· · · · · · ·THE COURT:· And your own briefing indicates, I
23· ·don't have jurisdiction to do anything here.
24· · · · · · ·MR. MURPHY:· I -- I wouldn't say, you don't have
25· ·jurisdiction to do anything; I would say, you don't have



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                                                                                                   Exhibit J
                                                                                                Page 9 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 10


·1· ·jurisdiction to issue a chokehold on your own motion.
·2· · · · · · ·But in answer to your question, Your Honor, we
·3· ·made a request to Mr. Dinihanian last month to execute the
·4· ·deed; that request was rejected.· And in response, my client
·5· ·has filed a contempt action in Multnomah County.· It's
·6· ·pending.· There's a hearing coming up.
·7· · · · · · ·THE COURT:· When did that get filed?
·8· · · · · · ·MR. MURPHY:· That got filed I -- I don't know the
·9· ·exact date.· It was -- it was last week.
10· · · · · · ·THE COURT:· And when is the contempt hearing
11· ·scheduled?
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12· · · · · · ·MR. MURPHY:· May 22nd, Your Honor.
13· · · · · · ·THE COURT:· All right.· So I'm gonna -- you can
14· ·sit down for a second, and I'm gonna turn to Mr. Miner.
15· · · · · · ·Why isn't your client willing to convey the
16· ·25 percent interest of the daughter's trust like he was
17· ·ordered to under the judgment?
18· · · · · · ·MR. MINER:· Right.· Let me just say this, Your
19· ·Honor:· A year ago, April of 2018, when I first met
20· ·Mr. Dinihanian, I saw that he had sent out the notice, under
21· ·the Tenancy-in-Common Agreement, to sell his interest, and
22· ·no one was -- and no one was interested.
23· · · · · · ·I also knew from speaking with him that he had
24· ·tried after that to sell the whole property, with the
25· ·consent of Ms. Logan, and for reasons that the Court already



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                                                                                                    Exhibit J
                                                                                                Page 10 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 11


·1· ·knows, it couldn't go forward.· And that happened in 2017 to
·2· ·2018, to sell it as a whole.
·3· · · · · · ·So when I was familiar with the partition
·4· ·statutes, I thought, because of that acrimony, it needed to
·5· ·be split.· I knew from the operating agreement of 15005,
·6· ·that the authority is there in Section 6, for Mr. Dinihanian
·7· ·to -- to go ahead with a 50/50; to keep it -- to keep to
·8· ·together, and not divide it into three or four parts, but
·9· ·two, 'cause it seemed like the best interest of both
10· ·Ms. Logan and my client.
11· · · · · · ·So the first thing I did is, I probably spent too
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12· ·much time, Judge, between April and September, to try to
13· ·convince Mr. Ramis, first, and then Mr. Trompke, when he
14· ·came onboard, to sell as a whole.· That's what my complaint
15· ·says, the third amended complaint, is sell as a whole.
16· · · · · · ·I was hopeful because, before Ms. Dinihanian, when
17· ·she filed her answer and counterclaim, said nothing about a
18· ·deed, a warranty deed.· I knew -- I knew it existed, and I
19· ·knew of the judgment, but didn't say nothing about it.
20· · · · · · ·I went over to Mr. Murphy's office in October, and
21· ·I said, are you gonna cooperate with this case?· 'Cause
22· ·here's what I want to do.· And what I heard back was nothing
23· ·about the deed, but they are gonna foreclose, if my client
24· ·doesn't pay on January 6, 2019, and they're not gonna give
25· ·us an extension and they're not gonna take partial payments.



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                                                                                                    Exhibit J
                                                                                                Page 11 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 12


·1· ·So I thought, okay, I need to get a trial date.
·2· · · · · · ·So when -- when calendaring -- so we were set to
·3· ·go in January of this year, January 2019, but I had trouble
·4· ·getting ref -- I filed a motion to appoint three referees,
·5· ·Judge, and -- and the other side didn't answer.
·6· · · · · · ·THE COURT:· So I'm not sure -- I mean, I -- I get
·7· ·this history --
·8· · · · · · ·MR. MINER:· I (indiscernible) --
·9· · · · · · ·THE COURT:· -- but I'm not sure it's answering my
10· ·question.
11· · · · · · ·MR. MINER:· Okay.
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12· · · · · · ·THE COURT:· I mean, the judgment required that he
13· ·give this -- I mean, here's what I got to say, on both
14· ·sides, I'm concerned that -- does the daughter have her own
15· ·lawyer, who's giving -- making sure her interests are being
16· ·watched out for?· 'Cause I'm not convinced, where everybody
17· ·is trying to push this through, as quick as possible.· It
18· ·seems like both, the former Ms. Dinihanian, and your client,
19· ·want me to do this as quick as possible so that this
20· ·judgment can get paid.· To hell with the impact on anyone
21· ·else, is how it's feeling to me.
22· · · · · · ·And so I'm curious, under these circumstances, if
23· ·the daughter or the daughter's trust, has -- has legal
24· ·counsel that's looking out for their interest; whereas, this
25· ·deed hasn't been conveyed?



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                                                                                                    Exhibit J
                                                                                                Page 12 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                                Page 13


·1· · · · · · ·On the other side of this case, we have the sister
·2· ·and her children, they have their own interests already in
·3· ·the property, directly.· That's not the circumstance on your
·4· ·client's side of the case.· He's got it all under the LLC
·5· ·right now, even though the judgment, the family law
·6· ·judgment, indicated that that needed to happen long ago.                                     I
·7· ·don't have no idea why nobody is making that happen.
·8· · · · · · ·MR. MINER:· Well, all I can say is this, Your
·9· ·Honor:· I know from talking to my client, that when he was
10· ·trying to get money to pay off the award, the money award,
11· ·that he couldn't get anyone -- any lender, interested, as
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12· ·you -- as you heard at trial, in using his collateral, the
13· ·-- you know, the undivided member interest of the plaintiff.
14· · · · · · ·THE COURT:· That doesn't answer the question I'm
15· ·asking.
16· · · · · · ·MR. MINER:· Why didn't he sign it?· The only thing
17· ·I can say is because I thought that I could -- I could act
18· ·in the best interest of both parties with a partition,
19· ·50/50.· And when the other side didn't say anything for a
20· ·year -- the other side -- the former Ms. Dinihanian, didn't
21· ·say anything for a year af -- until after trial, Your Honor.
22· ·I feel like I've been hoodwinked.· I don't even know about
23· ·the May 22nd contempt.· I don't know about that.· That's the
24· ·first I've heard of it.
25· · · · · · ·Now, I'm not a marital lawyer, Your Honor, but for



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                                                                                                       Exhibit J
                                                                                                   Page 13 of 31
               Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                               Page 14


·1· ·one year, I've worked on this to, first, sell it as a whole,
·2· ·and then partition, Your Honor.· And I'm sorry, I just --
·3· · · · · · ·THE COURT:· Well, for the last many weeks you've
·4· ·known that she's gonna go forward, enforcing her deed of
·5· ·trust on 50 percent of the property when, under the
·6· ·dissolution agreement, it's pretty clear that her judgment
·7· ·is only to be satisfied out of his sale of 25 percent
·8· ·interest.
·9· · · · · · ·So why hasn't the daughter's trust, 25 percent
10· ·interest, been taken off the table?
11· · · · · · ·MR. MINER:· 'Cause I don't -- Your Honor, because
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12· ·there's a -- there's a security interest, you know, the deed
13· ·of trust, against the whole 50 percent, which is gonna be
14· ·sold.· When they sent out the notice of sale, which
15· ·surprised me in January, that they were gonna do that, with
16· ·the partition scheduled for trial in March.· I mean, I --
17· ·Your Honor, all I thought was, since they hadn't objected,
18· ·then I could go forward.
19· · · · · · ·If they had objected and said, hand -- you know,
20· ·give us the deed, then -- I mean, you're right, it would
21· ·have been fruitless for me to continue; but we went all the
22· ·way through trial, and they never said anything until post
23· ·trial.
24· · · · · · ·THE COURT:· Well, they -- they're going forward on
25· ·foreclosing 50 percent of the interest in the property.



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                                                                                                      Exhibit J
                                                                                                  Page 14 of 31
              Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 15


·1· · · · · · ·MR. MINER:· I know.· And that's -- I'm sure -- and
·2· ·that's why I know I put -- I didn't -- you know, I put the
·3· ·pressure on.· I'll -- I'll admit that; I'll take
·4· ·responsibility for that, because I tried and I couldn't get
·5· ·them to wait until they -- "them," meaning Ms. Dini --
·6· ·Dinihanian, the former -- to wait until, right, this trial
·7· ·occurred, and this was resolved.· I couldn't get them to do
·8· ·that, so they went ahead.
·9· · · · · · ·So I'm -- you're right, I put the time pressure on
10· ·this, and -- because it was the only thing that I could do.
11· ·I still --
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12· · · · · · ·THE COURT:· Well, I'm -- I'm still -- okay, I
13· ·understand all of that; I understand the history here.
14· · · · · · ·I'm still back to, is your client still taking the
15· ·position that he's unwilling to -- consistent with the
16· ·dissolution judgment, convey that 25 percent out of the LLC
17· ·to the daughter's trust?· Because he's right:· The
18· ·judgment -- or the deed of trust that she's seeking to
19· ·foreclose, is foreclosing the LLC's interest.
20· · · · · · ·If the LLC has done, as the judgment in the family
21· ·law case directs, and conveys the 25 percent to the
22· ·daughter's trust, then that 25 percent interest can't be
23· ·foreclosed 'cause it no longer belongs to the LLC.· And her
24· ·only right is to foreclose the LLC's property interest.
25· · · · · · ·So why can't that be done?



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                                                                                                    Exhibit J
                                                                                                Page 15 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 16


·1· · · · · · ·MR. MINER:· I would just -- Your Honor, I'll just
·2· ·repeat what I said before, which is, I've gone through this,
·3· ·including at trial, to partition this, and they did not
·4· ·object; they didn't say one thing.· They -- the subject of
·5· ·executing the deed never came up until March 27th, when the
·6· ·letter was sent to me by Mr. Murphy.· It did not.
·7· · · · · · ·THE COURT:· Has your client gotten independent
·8· ·legal advice about his obligations to the daughter's trust?
·9· · · · · · ·MR. MINER:· He has a lawyer, who's now in South
10· ·Africa, doing some charitable work.· His name is Dan Lorenz,
11· ·in -- in the domestic case.· I'm -- I'm not his lawyer in
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12· ·that, and so I -- I have to believe that the answer to that
13· ·is yes.· But -- but that's where his lawyer is.
14· · · · · · ·And he sent a letter out to all -- you know, to
15· ·Mr. Murphy and to others in March, when he was leaving for
16· ·six weeks.· And that's why I said that at the beginning of
17· ·my -- my recent letter, Your Honor.
18· · · · · · ·THE COURT:· I mean, I just don't -- the
19· ·explanation and the answer you're giving me doesn't make
20· ·sense, that they didn't object.· They -- what do they have
21· ·to object to?· She has a deed of trust of 50 percent of the
22· ·interest that she's foreclosing.· That's a better deal for
23· ·her than the judgment even allows.
24· · · · · · ·MR. MURPHY:· Well, because it -- you know, it
25· ·splits it again, right?· It splits it again.· It's an



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                                                                                                    Exhibit J
                                                                                                Page 16 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                              Page 17


·1· ·undivided --
·2· · · · · · ·THE COURT:· It's an undivided.
·3· · · · · · ·MR. MURPHY:· Right.
·4· · · · · · ·THE COURT:· It's not a split; it's not a
·5· ·partition; it's an undivided interest, just like the sister
·6· ·and the sister's children have, which is not causing
·7· ·anybody's -- any problems, as far as I understand.
·8· · · · · · ·MR. MINER:· Right.· I mean, the original -- the --
·9· ·the -- the -- Mr. Dinihanian formed the trust, as the
10· ·trustor, and gave --
11· · · · · · ·THE COURT:· I thought that -- the former
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12· ·Ms. Dinihanian --
13· · · · · · ·MR. MURPHY:· Yeah.
14· · · · · · ·THE COURT:· -- is the trustee?
15· · · · · · ·MR. MURPHY:· She's -- she's the trustee.· He -- he
16· ·funded, so to speak --
17· · · · · · ·THE COURT:· Right.
18· · · · · · ·MR. MURPHY:· -- the trust, with a half membership,
19· ·member interest, in 15005, right, in 2011.
20· · · · · · ·And so, you're right, it's different than the
21· ·other four LLC owners, because the trust is not on -- on
22· ·title.· That's right.· That's right.
23· · · · · · ·And the only answer I can give you, Your Honor,
24· ·is, I knew it was there, and I didn't know what the answer
25· ·of the other side was gonna be, when I filed the partition



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                                                                                                     Exhibit J
                                                                                                 Page 17 of 31
            Case 19-31883-dwh11     Doc 493      Filed 11/22/21
                                                                                               Page 18


·1· ·suit.
·2· · · · · · ·But I thought, again, with the authority that he
·3· ·had, and -- and not to split it in, you know, four ways,
·4· ·that it was best to go forward on a 50/50 basis, when I
·5· ·couldn't get the other side to agree to sell it as a whole.
·6· · · · · · ·THE COURT:· And I'm not -- and I want to be clear
·7· ·here:· I'm not suggesting that we partition, to further
·8· ·divide up this property.· I'm suggesting that I think
·9· ·that -- that both sides, sitting here at the tables today,
10· ·have ethical issues, and fiduciary responsibilities, in her
11· ·role as trustee of the daughter's trust, and in your
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12· ·client's role, as managing member of the LLC, which he's not
13· ·the sole owner of, the daughter's trust is a half owner
14· ·there.
15· · · · · · ·MR. MINER:· Right.
16· · · · · · ·THE COURT:· I think they both have fiduciary
17· ·obligations to make sure the daughter's trust is being
18· ·protected.· And if we march forward, under current
19· ·circumstances, to this trustee sale, I'm not sure that --
20· ·I'm not sure that those fiduciary obligations are being paid
21· ·attention to.
22· · · · · · ·So I'm raising that issue because, ultimately, I
23· ·don't -- I'll just tell you, I don't think I have the
24· ·authority to stop this sale.· I don't think I do.· I didn't
25· ·think I did before.· And I wanted to hear the agreements,



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                                                                                                      Exhibit J
                                                                                                  Page 18 of 31
              Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                              Page 19


·1· ·but I don't think that I have the authority to stop that
·2· ·sale.
·3· · · · · · ·But I think that there are serious problems if
·4· ·that sale goes forward under current circumstances, which is
·5· ·why I am asking you, very pointedly, and I'm -- frankly, I'm
·6· ·not hearing an answer that makes any sense, why the
·7· ·judgment, as contemplated in the family law case, hasn't
·8· ·been followed through to make sure that the daughter's trust
·9· ·interest in this property is taken out of this foreclosure
10· ·sale process?
11· · · · · · ·And I guess -- I mean, there's nothing I'm gonna
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12· ·do about it here, but I'm flagging this as a problem for --
13· · · · · · ·MR. MINER:· Well, if you give me --
14· · · · · · ·THE COURT:· -- for the parties, if that -- if we
15· ·just go forward, how it's going.
16· · · · · · ·MR. MINER:· Two things, Your Honor:· If you give
17· ·me -- I know you've got another docket, but give me an
18· ·opportunity to talk my -- to my client about the question
19· ·you asked me about signing the deed, number one.
20· · · · · · ·And number two, if he does that, in my judgment,
21· ·then the plaintiff, in the partition case in front of Your
22· ·Honor, is asking for a partition of 25 percent from
23· ·75 percent.
24· · · · · · ·THE COURT:· Right.
25· · · · · · ·MR. MINER:· That's totally different than the



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                                                                                                     Exhibit J
                                                                                                 Page 19 of 31
             Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                              Page 20


·1· ·trial in this case.
·2· · · · · · ·THE COURT:· Well, I think we can amend to conform
·3· ·to the circumstances.· I don't think there would even be an
·4· ·objection to that.· I mean, we could -- we could clarify
·5· ·this, but I'm not sure there would be.· And then we would be
·6· ·back to -- I mean, as everyone knows, the whole reason we're
·7· ·here is because he needs to pay off his judgment.· Under the
·8· ·terms of the judgment, only the 25 percent interest in this
·9· ·property is subject to that, not half of it.· I don't think
10· ·that was the contemplation of the parties.· That's not how
11· ·this is written out.
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12· · · · · · ·It's that the husband, which is your client's
13· ·interest in the property was to be used as security for this
14· ·two-plus million-dollar judgment.· And, yet, we're in a
15· ·situation where that's not the practicality of what's
16· ·happening.
17· · · · · · ·MR. MINER:· No.· And -- and as you pointed out,
18· ·Your Honor, the deed of trust was there since January of
19· ·2016.
20· · · · · · ·THE COURT:· Exactly.· And as I told you in the
21· ·closing argument, I'm pretty convinced that the -- the time
22· ·pressure here is not my problem.· Like, this needed -- steps
23· ·needed to be taken much before now to avoid this emergency
24· ·situation.· And that we're in an emergency situation does
25· ·not mean that I'm gonna railroad this through, because there



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                                                                                                     Exhibit J
                                                                                                 Page 20 of 31
             Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 21


·1· ·are many parties who have an interest here, and my job is to
·2· ·make sure the equity happens for everybody, not just for
·3· ·your client so that he can get the money that he needs to
·4· ·pay off, that he's known he's needed to pay off, for many
·5· ·years.· That's where we are.
·6· · · · · · ·So I mean, I think I've tried to forecast this in
·7· ·several different ways, and the reality is, the practicality
·8· ·is, that even if we're gonna get to a partition, which I've
·9· ·said, I think that's the only remedy here that makes sense,
10· ·I don't think it's happening under the time frame that your
11· ·client needs, because there are other people's interests
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12· ·here that have to be factored into.
13· · · · · · ·So I mean, we're getting beyond what we're here
14· ·for today.· Give me one second; look at my notes.
15· · · · · · · · · · · ·(Pause in proceedings.)
16· · · · · · ·THE COURT:· All right.
17· · · · · · ·MR. MURPHY:· Your Honor, could I -- I'm sorry,
18· ·could I --
19· · · · · · ·THE COURT:· Yeah.· I told you I'd give you a few
20· ·minutes to --
21· · · · · · ·MR. MURPHY:· Okay.
22· · · · · · ·THE COURT:· -- tell me anything else you want me
23· ·to know about the situation, so I'll do that.
24· · · · · · ·MR. MURPHY:· I just want to weigh in on some of
25· ·the questions that Your -- Your Honor's asked.



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                                                                                                    Exhibit J
                                                                                                Page 21 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 22


·1· · · · · · ·First of all, my understanding is that, in the --
·2· ·in the family law case in Multnomah County, that an attorney
·3· ·was appointed for -- for Sonja Dinihanian, the daughter.
·4· ·His name is Chris O'Neill.· I don't know if he's still on
·5· ·the case, but at -- but at the time that this judgment was
·6· ·negotiated, apparently, he was counsel for the daughter,
·7· ·Sonja Dinihanian.
·8· · · · · · ·In terms of my client's duties as a trustee, if --
·9· ·if -- if she is allowed to take the stand and testify, she
10· ·will testify that the entire reason that this judgment was
11· ·structured the way it was, was to permit plenty of time to
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12· ·get Sonja's interest carved out from Mr. Dinihanian's
13· ·interest, and to separate those two.
14· · · · · · ·THE COURT:· Which was -- which was the impetus for
15· ·my questions of why hasn't your client made that happen.
16· ·Because if she goes forward and forecloses 50 percent
17· ·interest on this property, she's doing that on her own name,
18· ·not in the trust's name.
19· · · · · · ·MR. MURPHY:· Right.· And Your -- Your Honor, she's
20· ·aware of that.· That's why she filed a motion for contempt;
21· ·that's why we've asked Mr. Dinihanian to sign off on this
22· ·judgment; that's why I printed it -- we -- we weren't -- it
23· ·wasn't our responsibility to print a deed up and provide it
24· ·to Mr. Dinihanian; it was their responsibility to execute
25· ·the judgment.



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                                                                                                    Exhibit J
                                                                                                Page 22 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 23


·1· · · · · · ·THE COURT:· Well --
·2· · · · · · ·MR. MURPHY:· To execute the deed, Your Honor.
·3· · · · · · ·THE COURT:· Well, okay, fine.· But it's been --
·4· · · · · · ·MR. MURPHY:· We provided them with the
·5· ·opportunity --
·6· · · · · · ·THE COURT:· It's been four years, so your client
·7· ·has some responsibility, as trustee of that trust, to make
·8· ·sure that its interests are being protected.· And for the
·9· ·last several years, she's done nothing to make sure that
10· ·that 25 percent interest gets conveyed to the trust, that I
11· ·can tell.· You're telling me that she hasn't done that.
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12· · · · · · ·MR. MURPHY:· Your Honor, she -- she --
13· ·Mr. Dinihanian can sign this deed right now, and take all
14· ·these issues off the table.· And he should sign it right now
15· ·'cause he's obligated under the Multnomah County judgment to
16· ·do so.· He can solve a lot of problems simply by complying
17· ·with the judgment right now, right here, today.· There's no
18· ·reason he -- there's no reason for him to avoid doing that.
19· · · · · · ·Your Honor, I do want to point out, the stated
20· ·reason for his not doing that is -- is that -- is that the
21· ·plaintiff wants to obtain a loan secured by its divided
22· ·parcel to pay off the money award.· That means the 50
23· ·percent parcel.· That means Mr. Dinihanian wants to use the
24· ·daughter's 25 percent interest as collateral for a personal
25· ·loan to him to pay a debt to my client.



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                                                                                                    Exhibit J
                                                                                                Page 23 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                              Page 24


·1· · · · · · ·THE COURT:· I'm aware of that.
·2· · · · · · ·MR. MURPHY:· And -- and the evidence would --
·3· ·would show that he has millions of dollars in assets.· And
·4· ·the -- the allegation, that he included in his third amended
·5· ·complaint, that he needed to sell his property or -- or to
·6· ·take a loan out on his property to pay my client off, is --
·7· ·is false.· He could sell his motorcycle collection that's
·8· ·worth a million dollars; he could sell his helicopter that's
·9· ·worth a million dollars.· On and on and on.· I mean, it --
10· ·the -- I -- I do not believe that's an accurate
11· ·representation that was made to the Court.
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12· · · · · · ·MR. MINER:· Your -- Your Honor, I'll just say one
13· ·thing, 'cause I know you're busy, and that is, the Burnside
14· ·property that was in an exhibit, that was a 1031 exchange,
15· ·and the money went into the Forest Grove property that my
16· ·client testified about at trial.· He doesn't -- he doesn't
17· ·have cash from that.
18· · · · · · ·He also testified about what he's done to try to
19· ·pay off the money awards.· It's true that the only way that
20· ·he has to do it is this property, this Cornell property.
21· ·Thank you.
22· · · · · · ·THE COURT:· All right.· Well, as I said, I'm not
23· ·gonna stop this sale.· I have flagged, for both parties,
24· ·some problems that I think are there for both of them, if it
25· ·goes forward as it's currently structured.· But I don't --



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                                                                                                     Exhibit J
                                                                                                 Page 24 of 31
            Case 19-31883-dwh11     Doc 493      Filed 11/22/21
                                                                                               Page 25


·1· ·I'm not comfortable with -- I'm not convinced that I even
·2· ·have the authority to stop this sale, under the current
·3· ·posture of this case, and how this is all arising; and I'm
·4· ·not sure that it would be equitable to do so, even if I had
·5· ·the authority, and so I'm not going to do that.
·6· · · · And so I guess we're in recess at this point.
·7· · · · · · ·MR. MINER:· Thank you, Your Honor.
·8· · · · · · ·MR. MURPHY:· Your Honor, could I ask one more
·9· ·thing?
10· · · · · · ·THE COURT:· Briefly.
11· · · · · · ·MR. MURPHY:· We're asking that you order
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12· ·Mr. Dinihanian to sign that deed.
13· · · · · · ·THE COURT:· No.
14· · · · · · ·MR. MURPHY:· Okay.
15· · · · · · ·THE COURT:· The Multnomah County -- under the
16· ·judgment, the Multnomah County court retained jurisdiction
17· ·over enforcement of that judgment.· You're in the wrong
18· ·court for that.
19· · · · · · · · ·(End of recording at 9:01 a.m.)
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                                                                                                      Exhibit J
                                                                                                  Page 25 of 31
              Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 26


·1· · · · · · · · · · · · · GENERAL INDEX
·2· · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE NO.
·3· ·April 8, 2019, Proceedings· · · · · · · · · · · · · · · · 3
·4· ·Reporter's Certificate· · · · · · · · · · · · · · · · · ·27
·5
·6· · · · · · · · · · · · · WITNESS INDEX
·7· · · · · · · · · · · · · · ·(None.)
·8
·9· · · · · · · · · · · · · EXHIBITS INDEX
10· · · · · · · · · · · · · (None marked.)
11
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12
13
14
15
16
17
18
19
20
21
22
23
24
25



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                                                                                                    Exhibit J
                                                                                                Page 26 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                             Page 27


·1· · · · · · · · · · · REPORTER'S CERTIFICATE

·2· · · · · · ·I, Chantell S. Halsted, a Court Reporter and

·3· ·Notary Public in and for the State of Oregon, certify that I

·4· ·transcribed in stenotype the foregoing proceedings from the

·5· ·record provided to me on data CD in the above-entitled case;

·6· · · · · · ·I further certify that my stenotype notes were

·7· ·reduced to transcript form by Computer-Aided Transcription

·8· ·under my direction;

·9· · · · · · ·And I further certify that pages 1-27 contain a

10· ·full, true, and accurate record of my stenotype notes.

11· · · · · · ·Witness my hand at Portland, Oregon, this 17th daywww.LNScourtreporting.com




12· ·of September, 2021.

13· · · · · · · · · · · · · · ____________________

14· · · · · · · · · · · · · · Chantell S. Halsted
· · · · · · · · · · · · · · · Notary Public No.: 991529
15· · · · · · · · · · · · · · My Commission Expires: 09-08-20

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                                                                                                    Exhibit J
                                                                                                Page 27 of 31
            Case 19-31883-dwh11    Doc 493      Filed 11/22/21
                                                                                           ·Index: 1031..dismissed

                    8:34 3:1           argued 4:1         cash 24:17             confusion 3:22       creditor 9:14
         1
                                       argument 4:10      caused 7:12            consent 10:25        curious 12:22
                              9         20:21
1031 24:14                                                causing 17:6           consistent           current 18:18
                                       arguments                                   15:15               19:4 25:2
150 9:5             9:01 25:19          3:15
                                                          Certificate
                                                            26:4                 contemplated
15005 3:6,10                           arising 25:3                                7:25 19:7                 D
 11:5 17:19                   A                           charitable
                                       assets 24:3          16:10                contemplates
18CV17059 3:7                                                                      6:2,4              Dan 16:10
                    a.m. 3:1 25:19     attention 18:21    children 13:2
                                                            17:6                 contemplation        date 10:9 12:1
         2          accomplish         attorney 3:13                               20:10              daughter
                     8:5,25             5:13 7:17 22:2    chokehold
                                                            10:1                 contempt 10:5,        12:14,23 22:3,6
2011 17:19          accurate 24:10     authority 4:3                               10 13:23 22:20     daughter's
                                        11:6 18:2,24      Chris 22:4
2016 20:19          acrimony 11:4                                                                      4:16 5:16,25
                                        19:1 25:2,5                              continue 14:21
                                                          circumstance                                 6:6,10 8:1,3,8,
2017 11:1           act 13:17
                                       avoid 20:23          13:3                 convey 7:12,15        24 9:3 10:16
2018 10:19 11:2     action 3:11 4:3,    23:18                                      10:15 15:16         12:23 14:9
                                                          circumstances
                     7 9:17 10:5                                                                       15:17,22 16:8
2019 3:1 6:25                          award 13:10          4:16 12:22           conveyed
                                                                                                       18:11,13,17
 11:24 12:3 26:3    actions 4:9         23:22               18:19 19:4 20:3        8:11,24 12:25
                                                                                                       19:8 23:24
                                                                                   23:10
22nd 10:12          address 3:9        awards 24:19       clarify 20:4
                                                                                 conveys 8:21         deal 16:22
 13:23
                    admit 15:3         aware 4:25         clear 3:21 5:6,          15:21              debt 23:25
25 5:17 6:1,5,6,                        22:20 24:1          16 14:6 18:6
 10 7:9,15 8:7,
                    advice 16:8                                                  convince
                                                          client 3:25 6:9                             decided 4:1
 10,14,22 10:16     af 13:21                                                       11:13
                                                B           7:3 9:12,13,16                            decisions 4:23
 14:7,9 15:16,
                    Africa 16:10                            10:4,15 11:10,       convinced
 21,22 19:22                                                                                          decree 7:25
                                       back 7:7 8:24        23 12:18 13:9          12:16 20:21
 20:8 23:10,24      agree 18:5
                                        9:16,17 11:22       15:14 16:7             25:1               deed 5:16,25
27 26:4             agreement           15:14 20:6          19:18 21:3,11                              6:10,21 7:4,5,8
                                                            22:15 23:6,25
                                                                                 cooperate
27th 16:5            10:21 11:5 14:6                                               11:21               8:6,8 9:1,2,15
                                       basis 18:4           24:6,16                                    10:4 11:18,23
                    agreements                                                   Cornell 3:6,10        12:25 14:4,12,
                                       beginning          client's 13:4
         3           18:25                                                         9:5 24:20           20 15:18 16:5,
                                        16:16               18:12 20:12
                    ahead 11:7                              22:8                                       21 19:19 20:18
                                       belongs 15:23                             counsel 5:11
3 26:3               15:8                                                                              22:23 23:2,13
                                                                                   12:24 22:6
                                                          clients' 3:19                                25:12
                                       bit 3:21
                    allegation 24:4                                              counterclaim
         5                                                closing 20:21                               deeded 9:11
                                       briefing 3:14                               4:6 11:17
                    allowed 8:16
                                        9:22              collateral                                  delay 6:16
                     22:9                                                        County 5:5
50 6:5 7:4,6,8                                              13:12 23:24
                                       Briefly 25:10                               9:17,19 10:5       Dini 15:5
 8:10 14:5,13,25    amend 20:2
                                                          collection 24:7          22:2 23:15
 16:21 22:16                           Burnside                                                       Dinihanian
                    amended                                                        25:15,16
 23:22                                  24:13             comfortable                                  3:25 4:13,18
                     11:15 24:4
                                                            25:1                 court 3:4,5 5:2,      5:24 6:3,18
50/50 11:7                             busy 24:13
                    amount 8:13                                                    5,21,23 6:13,23     7:12,17 8:1 9:2
 13:19 18:4                                               complaint
                                       buy 5:24                                    7:2,12,14,19,21     10:3,20 11:6,16
                    answering                               11:14,15 24:5
                                                                                   8:5,16,19 9:6,8,    12:18 13:20
                     12:9
         6                                                 completely 9:3          16,22 10:7,10,      15:6 17:9,12
                                                C                                  13,25 12:6,9,12
                    anybody's                                                                          22:3,7,21,24
                     17:7                                  complying               13:14 14:3,24       23:13,23 25:12
6 11:6,24                                                   23:16
                                       calendaring                                 15:12 16:7,18
                    apparently          12:2              www.LNScourtreporting.com17:2,4,11,14,17    Dinihanian's
                     22:6                                  concerned                                   3:9,13 7:9
         7                                                  12:14                  18:6,16 19:14,
                                       carved 22:12                                                    22:12
                    appoint 12:4                                                   24 20:2,20
75 19:23                               case 3:23 4:15      confirming              21:16,19,22        directly 13:3
                    appointed 22:3      7:13 11:21          5:17                   22:14 23:1,3,6
                                        13:1,4 15:21                               24:1,11,22         directs 15:21
                    April 3:1 10:19                        conform 20:2
         8                              16:11 19:7,21                              25:10,13,15,16,
                     11:12 26:3                                                                       dismissed 4:7
                                        20:1 22:2,5        confused 7:7            18
8 3:1 26:3                              25:3




                                        www.LNScourtreporting.com

                                                                                                                        Exhibit J
                                                                                                                    Page 28 of 31
                 Case 19-31883-dwh11                   Doc 493       Filed 11/22/21
                                                                                  ·Index: dissolution..midstream

dissolution                            funded 17:16         21:17 22:19          involved 4:16        lien 9:14
 14:6 15:16                 F                               23:2,12,19
                                                            24:12 25:7,8
                                                                                 issue 4:15 10:1      LLC 3:6 7:13
divide 11:8                                     G                                  18:22               9:6,7 13:4
 18:8              factored 21:12                         Honor's 21:25                                15:16,20,23
                                                                                 issued 5:5            17:21 18:12
divided 23:21      false 24:7          gave 17:10         hoodwinked
                                                            13:22
                                                                                 issues 4:25          LLC's 3:10
docket 19:17       familiar 3:14       GENERAL                                     18:10 23:14
                    11:3                26:1                                                           15:19,24
                                                          hopeful 11:16
dollars 24:3,8,9                                                                                      loan 23:21,25
                   family 4:15 5:5,    give 3:17 5:13     hoping 5:13                      J
domestic            9,13 13:5 15:20     11:24 12:13                                                    24:6
                                                            6:18
 16:11              19:7 22:2           14:20 17:23
                                                                                 January 11:24        Logan 10:25
                                        19:13,16,17       husband 20:12                                11:10
duties 22:8        feel 13:22                                                      12:3 14:15
                                        21:14,19
                                                                                   20:18              long 13:6
                   feeling 12:21       giving 12:15                 I
         E                                                                       job 21:1
                   fiduciary            16:19                                                         longer 15:23
                    18:10,16,20
                                       Grove 24:15        idea 4:9 13:7          Judge 7:24           Lorenz 16:10
emergency                                                                          11:12 12:5
 20:23,24          filed 3:12,21 4:6   guess 19:11        impact 8:3                                  lot 23:16
                    9:17 10:5,7,8
                                        25:6
                                                            12:20                judgment 5:4,
end 25:19           11:17 12:4                                                     8,9,15 6:1,2,3,
                    17:25 22:20
                                                          impetus 22:14            19 7:8 9:13,18,             M
enforce 9:17
                                                H         important                19 10:17 11:19
enforcement        fine 23:3                                                       12:12,20 13:5,6
                                                            4:17,22 7:24                              made 4:11 10:3
 25:17                                                                             14:6 15:16,18,
                   flagged 24:23       half 17:18 18:13                                                22:15 24:11
                                                          inaccurate 8:9           20 16:23 19:7,
enforcing 14:4     flagging 19:12       20:9
                                                                                                      make 9:18
                                                          included 24:4            20 20:7,8,14
enjoin 4:3                             hand 14:19                                  22:5,10,22,25       16:19 18:17
                   forecast 21:6                                                                       19:8 21:2 23:7,
                                                          including 16:3           23:15,17 25:16,
entire 22:10       foreclose 8:9       happen 5:25                                                     9
                                                                                   17
                    9:10 11:23
                                        6:10,15 8:21      independent
equation 9:4                            9:18 13:6,7         16:7                                      makes 19:6
                    15:19,24                                                     June 7:22
equitable 4:2                           22:15                                                          21:9
                   foreclosed                             INDEX 26:1,6,9         jurisdiction
 25:4                                                                                                 making 4:23
                    8:13,15 9:12
                                       happened 11:1                               9:19,20,23,25
                                                          indiscernible                                12:15 13:7
equity 4:5 21:2     15:23              happening            12:8
                                                                                   10:1 25:16

et al 3:6                               20:16 21:10                                                   managing
                   forecloses                             individually                                 18:12
                    22:16                                                                  K
ethical 18:10                          hear 4:18,23         9:13
                                        18:25                                                         march 6:25
eve 4:8            foreclosing                            insight 5:14           knew 10:23            14:16 16:5,15
                    7:5,6 8:6 14:25    heard 11:22
                                                          insist 6:9               11:5,18,19          18:18
evidence 24:2       15:19 16:22         13:12,24                                   17:24
                                                          intended 7:11                               marital 13:25
exact 10:9         foreclosure         hearing 3:8
                    5:3 8:2,23 9:4,     10:6,10 19:6      interest 3:10                    L          marked 26:10
exchange
                    9,15 19:9                               5:17 6:1,4,5
 24:14                                 held 3:3 6:6                                                   matter 4:4
                   Forest 24:15                             7:4,6,9,16 8:2,
execute 8:7                                                                       large 6:8           meaning 15:5
                                       helicopter 24:8      7,15,22,24
 10:3 22:24 23:2   formed 17:9                              10:16,21 11:9         law 5:5,9,13
                                       hell 12:20                                                     means 23:22,
executing 8:8                                               12:24 13:13,18          13:5 15:21 19:7
                   forward 8:9,23                                                                      23
 16:5                                  history 12:7         14:8,10,12,25           22:2
                    11:1 14:4,18,24
                    18:4,18 19:4,15     15:13               15:19,22,24                               Meisenheimer
exhibit 24:14                                               16:22 17:5,19
                                                                                  lawyer 12:15         7:25
                    22:16 24:25        hold 5:21                                    13:25 16:9,11,
                                                            19:9 20:8,13
EXHIBITS 26:9                                                                       13                member 13:13
                   frame 21:10         holds 9:6,9          21:1 22:12,13,
                                                                                                       17:19 18:12
existed 11:18                                               17 23:10,24           lead 6:8
                                                          www.LNScourtreporting.com
                   frankly 19:5        Honor 5:20
                                                          interested                                  membership
explain 3:20                            6:12,14,17,20                            leaving 16:15
                   free 9:14                                10:22 13:11
                                                                                                       17:18
explanation                             7:1,10 8:12,20
                   front 19:21                                                   legal 12:23 16:8     met 10:19
 16:19                                  9:21 10:2,12,19   interests 4:18
                   fruitless 14:21      13:9,21,25          12:15 13:2           lender 13:11         middle 7:4 8:6
extension                               14:2,11,17          21:11 23:8
 11:25             fulfill 6:18         16:1,17 17:23
                                                                                 letter 6:23 16:6,    midstream
                                                          intervening              14,17
                                        19:16,22 20:18                                                 8:19
                                                            6:16




                                        www.LNScourtreporting.com

                                                                                                                         Exhibit J
                                                                                                                     Page 29 of 31
                Case 19-31883-dwh11                    Doc 493          Filed 11/22/21
                                                                                           ·Index: million..signing

million 24:8,9      notes 21:14       participate 4:1    present 4:10         Ramis 11:13          responsibilitie
                                                                                                   s 18:10
million-dollar      notice 8:14       parties 13:18      pressure 15:3,       read 3:12 6:23
 20:14               10:20 14:14       19:14 20:10         9 20:22                                 responsibility
                                       21:1 24:23
                                                                              reality 21:7
                                                                                                    15:4 22:23,24
millions 24:3       number 19:19,                        pretty 4:21 14:6
                     20               partition 3:11       20:21
                                                                              reason 5:7 20:6       23:7
Miner 5:20,22                          4:3 11:3 13:18
                                                                               22:10 23:18,20
                                                                                                   retain 9:20
 6:23 10:14,18      NW 3:6,10          14:2,16 16:3
                                                         primary 7:2
 12:8,11 13:8,16
                                                                              reasons 4:17
                                       17:5,25 18:7                                                retained 25:16
 14:11 15:1
                                                         print 22:23           10:25
                             O         19:21,22 21:8                                               reviewed 5:1,4
 16:1,9 17:8                                             printed 22:22        recent 6:24,25
 18:15 19:13,16,                      parts 11:8                               16:17               revise 8:13,14
 25 20:17 24:12     O'NEILL 22:4                         problem 8:23
 25:7
                                      party 4:10           19:12 20:22        recently 6:15        Road 3:6
                    object 4:13
minutes 3:17         16:4,20,21       pause 21:15        problems 17:7        recess 25:6          role 18:11,12
 21:20                                                     19:3 23:16
                    objected          pay 5:8 11:24                           recognize 4:21
                                                           24:24
                     14:17,19          13:10 20:7 21:4                                                      S
missed 3:18                                                                   record 3:5
                                       23:22,25 24:6,    procedural
monday 3:1          objection 3:12,    19                  3:23 4:22          recording
                     21 5:2 20:4                                                                   sale 3:10 4:4,14
money 13:10                           payments                                 25:19                5:3 7:22,23
                                                         proceedings
 21:3 23:22         obligated          11:25               3:3 21:15 26:3     ref 12:4              14:7,14 18:19,
 24:15,19            23:15                                                                          24 19:2,4,10
                                      pending 10:6       process 19:10        referees 12:4         24:23 25:2
month 6:25          obligation 6:2
 10:3
                                      people's 21:11     property 3:11        reiterate 3:14,      satisfied 14:7
                    obligations                            5:18 6:4 7:9        18
morning 3:8          6:19 16:8        percent 5:17                                                 scheduled 3:9
                                                           8:2,10,13 9:5,
                     18:17,20          6:1,5,6,10 7:4,                        rejected 10:4
                                                           10 10:24 13:3                            7:22 10:11
motion 10:1                            6,8,9,15 8:10,
                                                                                                    14:16
                    obtain 23:21                           14:5,25 15:24      relate 5:12
 12:4 22:20                            14,22 10:16
                                                           18:8 19:9 20:9,
                                       14:5,7,9,13,25                                              Section 11:6
motorcycle          occurred 15:7                          13 22:17 24:5,     related 4:10
                                       15:16,21,22
 24:7                                                      6,14,15,20                              secured 23:21
                    October 11:20      16:21 19:22,23                         relationships
Multnomah                              20:8 22:16        property's            4:15                security 14:12
                    office 11:20       23:10,23,24
 5:5 9:17,19                                               9:11                                     20:13
                                                                              release 9:14
 10:5 22:2 23:15    onboard 11:14     permit 22:11       protected                                 seeking 15:18
 25:15,16                                                                     remains 7:24
                    open 3:3          personal 23:24       18:18 23:8
Murphy 6:12,                                                                                       sell 10:21,24
                                                                              remedy 21:9
 14 7:1,10,15,      operating 11:5    plaintiff 7:12     provide 22:23                              11:2,14,15 14:1
 20,23 8:12,17,                        8:21 13:13                             repeat 16:2           18:5 24:5,7,8
                    opportunity                          provided 23:4
 20 9:7,9,21,24      19:18 23:5        19:21 23:21                            Reporter's           sense 16:20
 10:8,12 16:6,                                           pull 5:19                                  19:6 21:9
                                                                               26:4
 15,24 17:3,13,     order 25:11       plenty 22:11
                                                         push 12:17                                separate 8:1
 15,18 21:17,21,                      point 4:25 9:4                          representation
                    ordered 10:17                                              24:11                22:13
 24 22:19 23:2,                        23:19 25:6        put 15:2,9
 4,12 24:2 25:8,    original 17:8                                             request 6:24         September
 11,14                                pointed 20:17
                    owed 5:8                                       Q           10:3,4               11:12
Murphy's                              pointedly 19:5
                    owner 18:13                                               requested 6:15       set 12:2
 11:20                                position 4:19,     question 6:8,9
                    owners 5:24        24 15:15            10:2 12:10         required 3:9         shortly 4:8
                     17:21                                 13:14 19:18         5:9 12:12
         N                                                                                         show 24:3
                                      positions 3:19
                                                         questions 3:16       resolved 15:7
                                                                                                   side 12:5 13:1,
needed 11:4                  P        post 14:22           5:10,12 21:25         respond 6:12       4,19,20 17:25
 13:6 20:22,23                        postpone 5:2         22:15
                                                         www.LNScourtreporting.com                  18:5
 21:4 24:5          paid 12:20                                                responded
                                      postponing         quick 12:17,19        7:17                sides 12:14
                     18:20
negotiate 7:10                         4:13,14                                                      18:9
                    parcel 23:22,23                                           responding
negotiated                            posture 3:23                 R           6:24                sign 6:21 13:16
 22:6               part 4:2 7:24      4:22 25:3                                                    22:21 23:13,14
                                                         railroad 20:25       response 10:4         25:12
noted 4:6           partial 9:15      practicality
                     11:25             20:15 21:7        raising 18:22        responses 7:3        signing 19:19




                                       www.LNScourtreporting.com

                                                                                                                     Exhibit J
                                                                                                                 Page 30 of 31
                 Case 19-31883-dwh11                 Doc 493           Filed 11/22/21
                                                                                          ·Index: signs..years

signs 9:2           5:2                Trompke 11:13       wanted 18:25
simply 23:16       suit 18:1           trouble 12:3        warranty 6:21
                                                             11:18
sister 13:1 17:5   surprised           true 24:19
                    14:15                                  watched 12:16
sister's 17:6                          trust 4:16 5:16,
                                        25 6:7,10 7:4,     ways 18:3 21:7
sit 10:14                   T           16 8:1,3,7,8,11,
                                        22,25 9:3,15
                                                           week 10:9
sitting 4:3 18:9
                   table 14:10          10:16 12:23        weekend 3:15
situation                               14:5,9,13
                    23:14
 20:15,24 21:23                         15:17,18,22        weeks 14:3
                   tables 18:9          16:8,21 17:9,        16:16
sold 14:14
                                        18,21 18:11,13,    weigh 21:24
sole 18:13         taking 4:9
                                        17 19:8 20:18
                    15:14
                                        23:7,10            work 16:10
solve 23:16
                   talk 19:18                              worked 14:1
                                       trust's 5:17
Sonja 22:3,7
                   talking 6:4 13:9     22:18
                                                           worth 24:8,9
Sonja's 22:12
                   teed 5:7            trustee 3:10
                                                           written 20:11
sort 3:23 5:5                           4:4,14 7:21
                   telling 23:11        9:12 17:14,15      wrong 25:17
South 16:9                              18:11,19 22:8
                   temporarily
speak 17:16         5:3                 23:7
                                                                     Y
speaking           Tenancy-in-         trustor 17:10
 10:23             common 10:21                            year 10:19 12:3
                                       turn 10:14
                                                             13:20,21 14:1
specific 3:16      terms 4:23 5:15     two-plus 20:14
specifically
                    20:8 22:8                              years 6:10,16
                                                             21:5 23:6,9
 9:20              testified 24:16,             U
                    18
spent 3:15
 11:11             testify 6:17        ultimately
                    22:9,10             18:22
split 11:5 17:4
 18:3              thing 11:11         uncomfortable
                    13:16 15:10         4:9
splits 16:25
                    16:4 24:13 25:9
                                       understand
stand 22:9
                   things 19:16         4:24 9:21 15:13
started 4:8                             17:7
                   thought 11:4
stated 23:19        12:1 13:17         understanding
                    14:17 17:11         22:1
statutes 11:4       18:2
                                       understands
statutorily        time 3:15 11:12      6:3
 8:16               15:9 20:21
                    21:10 22:5,11
                                       undivided 5:17
stay 5:3                                7:16 13:13
steps 20:22        title 17:22          17:1,2,5

stop 18:24 19:1    today 4:20 7:19     unusual 3:23
 24:23 25:2         18:9 21:14          4:22
                    23:17
structured                             unwilling
 22:11 24:25       told 20:20 21:19     15:15

subject 3:11       totally 19:25                           www.LNScourtreporting.com
 16:4 20:9                                      V
                   trial 4:1,2,8 5:7
suggested           12:1 13:12,21
                    14:16,22,23        view 4:25
 4:12
                    15:6 16:3 20:1
suggesting          24:16                       W
 18:7,8
                   trigger 5:19,23
suggestion                             wait 15:5,6




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                                                                                                             Exhibit J
                                                                                                         Page 31 of 31
                Case 19-31883-dwh11                   Doc 493            Filed 11/22/21
1      Douglas Pahl, OR Bar No. 950476
       DPahl@perkinscoie.com
2      Matthew Mertens, OR Bar No. 146288
       MMertens@perkinscoie.com
3      PERKINS COIE LLP
       1120 N.W. Couch Street, 10th Floor
4      Portland, OR 97209-4128
       Telephone: 503.727.2000
5      Facsimile: 503.727.2222

6      Counsel for Debtor and Debtor-in-Possession
       15005 NW Cornell LLC
7
       Nicholas J. Henderson, OSB No. 074027
8      nhenderson@portlaw.com
       Motschenbacher & Blattner, LLP
9      117 SW Taylor St., Suite 300
       Portland, OR 97204
10     Telephone: (503) 417-0508
       Facsimile: (503) 417-0528
11
       Counsel for Debtor and Debtor-in-Possession
12     Vahan M. Dinihanian, Jr.

13                                   UNITED STATES BANKRUPTCY COURT

14                                         FOR THE DISTRICT OF OREGON

15     In re                                             Bankruptcy Case Nos.:

16     15005 NW CORNELL LLC, and                         19-31883-dwh11 (Lead Case)

17     VAHAN M. DINIHANIAN, JR.                          19-31886-dwh11

18                            Debtors. 1                 Jointly Administered Under
                                                         Case No. 19-31883-dwh11
19
                                                         DEBTORS’ APPLICATION TO EMPLOY
20                                                       BATEMAN SEIDEL P.C. AS ATTORNEYS
                                                         IN WASHINGTON COUNTY CASE NO.
21                                                       18CV17059

22             Debtors and debtors-in-possession 15005 NW Cornell LLC (“Cornell”) and Vahan M.
23     Dinihanian, Jr. (“Dinihanian,” collectively, “Debtors”), hereby apply to the Court for an order approving
24     the employment of Bateman Seidel P.C. (“Bateman Seidel”) as counsel for Debtors in the property
25
       1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
26     number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871).
                                                                                    PERKINS COIE LLP
PAGE   1-    DEBTORS’ APPLICATION TO EMPLOY GREGORY              1120 N.W. Couch Street, 10th Floor
             MINER OF BATEMAN SEIDEL P.C. AS ATTORNEYS               Portland, OR 97209-4128
             IN WASHINGTON COUNTY CASE NO. 18CV17059                   Phone: 503.727.2000
       134541-0001/145332360.3                                          Fax: 503.727.2222 Exhibit J-1
                               Case
                               Case 19-31883-dwh11
                                    19-31883-dwh11 Doc
                                                   Doc 493
                                                       138 Filed
                                                           Filed 11/22/21
                                                                 09/24/19                          1 of 20
1      partition litigation in Washington County Circuit Court, Case No. 18CV17059 (the “Partition Case”).

2      Debtors make this Application pursuant to 11 USC § 327(e), and Federal Rule of Bankruptcy Procedure

3      2014, and respectfully represents as follows.

4             1.      This Court has jurisdiction over this matter pursuant to 28 USC §§ 1334 and 157. This

5      matter is a core proceeding pursuant to 28 USC § 157(b)(2)(A) and (O). Venue of this proceeding is

6      proper in this District pursuant to 28 USC §§ 1408 and 1409. The statutory predicates for the relief

7      requested herein are 11 USC §§ 105(a) and 327.

8             2.      On May 21, 2019 (the “Petition Date”), Debtors filed Voluntary Petitions for relief under

9      Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

10            3.      Cornell is a non-operating business pursuant to 11 USC §§ 1107 and 1108 of the Code.

11     Dinihanian is an individual chapter 11 debtor. No trustee or examiner has been requested or appointed in

12     Debtors’ cases.

13            4.      Debtors have provided notice of this Application to their 20 largest unsecured creditors,

14     their secured creditor(s), and the Office of the United States Trustee. No unsecured creditors’ committee

15     has been appointed in this case. Because of the nature of the relief requested, Debtors respectfully submit

16     that no further notice of the relief requested is necessary or required under the circumstances.

17            5.      Cornell is an Oregon member-managed limited liability company that owns, as a tenant-

18     in-common, a fifty-percent interest in approximately 38 acres of unimproved property located at 15005

19     NW Cornell Road, Beaverton, Oregon (the “Property”). Dinihanian is the managing member of Cornell.

20     Eagle Holdings LLC, an Oregon limited liability company that is wholly owned by Dinihanian, is the half

21     owner of Cornell. The other half owner is the Sonja Dinihanian GST Trust DTS 1/1/11.

22            6.      The property is currently the subject of the Partition Case, initiated by Cornell against

23     limited liability companies owned or controlled by Lilian Logan, Mr. Dinihanian’s sister, and her children.

24     Evidence adduced in the partition action indicates Cornell’s interest in the Property possesses a value

25     sufficient to pay all of Cornell’s scheduled creditors in full. Prior to the completion of the Partition Case,

26     however, borrowing against or selling the Property to pay creditors was not practicable.
                                                                                      PERKINS COIE LLP
PAGE   2-    DEBTORS’ APPLICATION TO EMPLOY GREGORY              1120 N.W. Couch Street, 10th Floor
             MINER OF BATEMAN SEIDEL P.C. AS ATTORNEYS               Portland, OR 97209-4128
             IN WASHINGTON COUNTY CASE NO. 18CV17059                   Phone: 503.727.2000
       134541-0001/145332360.3                                          Fax: 503.727.2222 Exhibit J-1
                               Case
                               Case 19-31883-dwh11
                                    19-31883-dwh11 Doc
                                                   Doc 493
                                                       138 Filed
                                                           Filed 11/22/21
                                                                 09/24/19                          2 of 20
1              7.      Debtors desire to retain and employ Bateman Seidel to continue to represent Cornell as

2      ordinary course special counsel in the Partition Case, pursuant to subsection 327(e) of the Code.

3              8.      Debtors believe Bateman Seidel is well suited for this representation as it served as

4      prepetition counsel to Cornell in the Partition Case. Gregory Miner will be the professional primarily

5      responsible for providing services to the Debtors in the Partition Case and has experience in all aspects of

6      the law that may apply in completing the Partition Case. In particular, Gregory Miner has substantial

7      litigation, real property and partition law expertise. Gregory Miner’s professional biography is attached

8      hereto as Exhibit A.

9              9.      The professional services that Gregory Miner is expected to render include: advancing the

10     Partition Case toward conclusion, including but not limited to taking steps toward the preparation of a

11     partition-in-kind judgment, and generally assisting the Debtors in real property, master planning and land

12     use matters as Debtors may require.

13             10.     Subject to Court approval, Debtors have agreed to compensate Bateman Seidel on an

14     hourly basis in accordance with Bateman Seidel’s ordinary and existing hourly rates in effect on the dates

15     services are rendered. Bateman Seidel’s services will be billed to the estates for payment as administrative

16     expenses under Sections 503(b) and 507(a)(1) of the Bankruptcy Code. Gregory Miner’s current billing

17     rate is as follows:
                                 Name                            Hourly Rate
18
                                 Gregory Miner                     $400.00
19
               11.     Bateman Seidel will maintain detailed, contemporaneous time records of expenses
20
       incurred, with the rendering of accounting services described above by category and nature of services
21
       rendered. While Bateman Seidel customarily renders litigation services for clients based on an hourly
22
       billing rate, Bateman Seidel expects that the Debtors’ total expenditures for its services will not exceed
23
       $25,000.00 but not including appeal fees and costs, subject of course to further adjustments as may be
24
       necessary and approved by the Court.
25

26
                                                                                    PERKINS COIE LLP
PAGE   3-    DEBTORS’ APPLICATION TO EMPLOY GREGORY              1120 N.W. Couch Street, 10th Floor
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                               Case
                               Case 19-31883-dwh11
                                    19-31883-dwh11 Doc
                                                   Doc 493
                                                       138 Filed
                                                           Filed 11/22/21
                                                                 09/24/19                          3 of 20
1               12.    Bateman Seidel has not agreed to any variations from, or alterations to, his standard or

2      customary billing arrangements for this engagement.

3               13.    Bateman Seidel has not varied its rate based on the geographic location of these bankruptcy

4      cases.

5               14.    Within the 12-month period preceding the Petition Date, Bateman Seidel has represented

6      Cornell in the Partition Case. For such prepetition representation, Bateman Seidel is owed a total of

7      $170,071.78, plus $2,160.00 on the other non-partition matter. Bateman Seidel intends to retain this

8      prepetition claim pursuant to subsection 327(e).

9               15.    Other than as set forth herein and in the concurrently submitted Rule 2014 Verified

10     Statement filed with this Application, to the best of Debtors’ knowledge, Bateman Seidel does not have

11     any connection with Debtors, its creditors, any other party in interest, or their respective attorneys or

12     accountants.

13              16.    A proposed Order Authorizing the Employment of Bateman Seidel is attached hereto and

14     incorporated by reference herein as Exhibit B.

15              For the reasons stated in this Application, Debtors respectfully request that the Court enter an order

16     authorizing the employment of Bateman Seidel to represent Debtors as special ordinary course counsel in

17     the Partition Case, with compensation and reimbursement of expenses to be paid as an administrative

18     expense in such amounts as may be allowed by this Court after notice and hearing pursuant to Section 330

19     of the Bankruptcy Code or as otherwise provided by Court order.

20                                                         15005 NW CORNELL LLC
        Dated: September 24, 2019
21
                                                           By:
22                                                               Vahan Megar Dinihanian, Jr.

23

24

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26
                                                                                       PERKINS COIE LLP
PAGE   4-    DEBTORS’ APPLICATION TO EMPLOY GREGORY              1120 N.W. Couch Street, 10th Floor
             MINER OF BATEMAN SEIDEL P.C. AS ATTORNEYS               Portland, OR 97209-4128
             IN WASHINGTON COUNTY CASE NO. 18CV17059                   Phone: 503.727.2000
       134541-0001/145332360.3                                          Fax: 503.727.2222 Exhibit J-1
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                               Case 19-31883-dwh11
                                    19-31883-dwh11 Doc
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                                                           Filed 11/22/21
                                                                 09/24/19                          4 of 20
1      Presented by:

2      Dated: September 24, 2019                    PERKINS COIE LLP
3                                                   By: /s/ Douglas R. Pahl
                                                        Douglas R. Pahl, OSB No. 950476
4                                                       DPahl@perkinscoie.com
                                                        Matthew J. Mertens, OSB No. 146288
5                                                       MMertens@perkinscoie.com
                                                        PERKINS COIE LLP
6                                                       1120 N.W. Couch Street, Tenth Floor
                                                        Portland, OR 97209-4128
7                                                       Telephone: 503.727.2000
                                                        Facsimile: 503.727.2222
8
                                                   Counsel for Debtor and Debtor-in-Possession
9                                                  15005 NW Cornell LLC
10
       DATED: September 24, 2019                    MOTSCHENBACHER & BLATTNER,
11                                                  LLP
12                                                  By: /s/ Nicholas J. Henderson
                                                        Nicholas J. Henderson, OSB No. 074027
13
                                                        nhenderson@portlaw.com
                                                        Motschenbacher & Blattner, LLP
14
                                                        117 SW Taylor St., Suite 300
                                                        Portland, OR 97204
15
                                                        Telephone: (503) 417-0508
                                                        Facsimile: (503) 417-0528
16
                                                   Counsel for Debtor and Debtor-in-Possession
17
                                                   Vahan M. Dinihanian, Jr.
18

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                                                                            PERKINS COIE LLP
PAGE   5-    DEBTORS’ APPLICATION TO EMPLOY GREGORY              1120 N.W. Couch Street, 10th Floor
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             IN WASHINGTON COUNTY CASE NO. 18CV17059                   Phone: 503.727.2000
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                               Case 19-31883-dwh11
                                    19-31883-dwh11 Doc
                                                   Doc 493
                                                       138 Filed
                                                           Filed 11/22/21
                                                                 09/24/19                          5 of 20
                  Exhibit A
Greg Miner’s Professional Biography




                                                        Exhibit J-1
       Case
       Case 19-31883-dwh11
            19-31883-dwh11   Doc
                             Doc 493
                                 138   Filed
                                       Filed 11/22/21
                                             09/24/19      6 of 20
                              Gregory J. Miner
                              Shareholder
                              Practice Groups: Litigation: Business, Commercial, Construction, Real Estate

                              Batema1,eidel
                              Bateman Seidel Miner Blomgren Chellis & Gram, P.C.
                              888 SW Fifth Avenue, Suite 1250
                              Portland, Oregon 97204
                              Tel: 503 972 9932 / Fax: 503 972 9952
                              E-mail : gminer@batemanseidel.com

              Greg Miner is one of six founding shareholders of Bateman Seidel and has 37 years of
    litigation experience, including 29 years in the federal and state courts in Oregon and Washington.
    Previously, he also practiced in the District of Columbia, Maryland, and Virginia.

            His litigation practice has always involved jury and judge trials, as well as arbitration. His
    experience and focus is primarily on complex business, commercial, construction, and real estate
    disputes involving contracts, personal injury, property damage, and premises liability claims and
    defenses. He has represented plaintiffs and defendants in litigating these matters. He has acted as a
    sole arbitrator in commercial, real estate, construction, and personal injury cases pending in
    Multnomah County (Oregon) Circuit Court under the mandatory arbitration program for claims up to
    $50,000.00.

             In real estate, Greg has represented owners, developers, lenders, and brokers in the full range
    of real estate related claims, both commercial and residential, in trials and arbitrations. This litigation
    experience includes disputes over purchase and sale agreements, property interests and title, access
    to property, real estate valuation, property management and broker agreements, as well as partition,
    condemnation, and foreclosure claims. He has primarily defended property owners in serious personal
    injury and premises liability claims, and has prosecuted significant property damages claims on behalf
    of owners.

              In business and complex commercial litigation, Greg has represented shareholders, members,
    and partners in a wide variety of business disputes, as well as in management, buyout, valuation, and
    dissolution matters. He has represented manufacturers, distributors, and dealers in contract, franchise,
    and business tort litigation defending and prosecuting these types of claims, and in trade secrets, non-
    compete and non-solicitation agreement disputes.

             In construction, Greg has extensive experience in commercial, industrial, and residential
    construction contract and performance disputes. He has represented owners, general contractors,
    subcontractors, suppliers and design professionals in litigation and has both prosecuted and defended
    against claims involving construction and design issues. His experience includes federal and state
    public contract disputes and bid protests.

           In natural resources litigation, Greg has represented the interests of the forest products and
    the public power industries, especially in federal court, involving claims under The National



Exhibit A                                                                                                         Exhibit J-1
Page 1 of 7            Case
                       Case 19-31883-dwh11
                            19-31883-dwh11                                Doc
                                                                          Doc 493
                                                                              138   Filed
                                                                                    Filed 11/22/21
                                                                                          09/24/19                   7 of 20
    Environmental Policy Act, The Endangered Species Act, and other environmental laws. This litigation
    took place in federal and state agencies and in federal and state courts addressing forest practices and
    timber contracts, as well as involving threatened or endangered wildlife and salmon species. He has
    defended against civil and criminal claims of timber theft and log scaling fraud, and defended wrongful
    death claims arising out of past timber harvesting practices.

    COURT AND BAR ADMISSIONS

        •   Current: State and Federal Courts: Oregon and Washington

        •   AV Rated

        •   Former: District of Columbia, Maryland, and Virginia

    PROFESSIONAL MEMBERSHIPS, BAR ASSOCIATION VOLUNTEER ACTIVITIES, AND AWARDS

        •   Multnomah County Bar Association, 1986 - present

        •   Oregon State Bar Association, 1986 - present

        •   Washington State Bar Association, 2004 - present

        •   U.S. District Court of Oregon Historical Society, Executive Committee 2007-2013; Chair, Oral
            History Committee 2008-2013

        •   Federal Bar Association, Oregon Chapter, Member of Board of Directors, 1996-2001,
            Secretary 1997-98, Vice-President 1998-99, President-Elect 1999-2000, President 2000-2001 ,
            Editor of Oregon Chapter newsletter 1997-99

        •   Federal Bar Association, Oregon Chapter, Vice-President for Ninth Circuit 2001-2005

        •   2004 - Received Hon. James M. Burns Federal Practice Award, Oregon Chapter, Federal Bar
            Association

        •   2012 - Received Oregon State Bar President's Special Award of Appreciation (as volunteer
            Oregon State Bar trial counsel in attorney ethics violation prosecutions) 1999-2012

        •     State of Oregon Judicial Disabilities Commission (volunteer trial counsel) 2005-2007

        •   American Bar Association, Member of Sections on Litigation, Torts and Insurance, and
            Construction Law

    LAW FIRM EXPERIENCE

        •     Founder/Shareholder, Bateman Seidel, 2005-present (Portland, Oregon)

        •     Partner, Preston, Gates & Ellis, LLP, 1999-2005 (Portland, Oregon)



Exhibit A                                                                                                      Exhibit J-1
Page 2 of 7            Case
                       Case 19-31883-dwh11
                            19-31883-dwh11               Doc
                                                         Doc 493
                                                             138       Filed
                                                                       Filed 11/22/21
                                                                             09/24/19                             8 of 20
        •   Partner, Bogle & Gates P.L.L.C., 1989-99 (Portland, Oregon)

        •   Associate/Partner, Saltman & Stevens P.C. (Portland, Oregon 1986-89; Washington, D.C.
            1984-86)

        •   Associate/Partner, Rhodes, Dunbar & Lomax, Chtd., 1979-84 (Washington, D.C.)

    EDUCATION

    J.D., The Catholic University of America, Columbus School of Law, 1978

    B.A., Canisius College, 1971




Exhibit A                                                                                           Exhibit J-1
Page 3 of 7           Case
                      Case 19-31883-dwh11
                           19-31883-dwh11             Doc
                                                      Doc 493
                                                          138       Filed
                                                                    Filed 11/22/21
                                                                          09/24/19                     9 of 20
                                       GREGORY J. MINER
                                  SELECTED RECENT LITIGATION
                                          (2009-2019)



Real Estate Litigation

   •       Reported case - Tri-County Center Trust v. Martin, 225 Or App 417, 201 P3d 293 (2009);
           rev. den. 346 Or 258, 210 P3d 906 (2009) - prevailed at trial in Washington County
           Circuit Court and on appeal to partition in kind 16 acres of family real estate in Washington
           County.

    •      Reported case - Britton v. Brown, Supreme Court of Montana, 368 Mont. 379, 300 P3d
           667 (2013)- acted as special real estate partition litigation counsel for co-tenant property
           owner involving substantial pristine lakefront acreage in Montana; included successful
           appeal of the partition referees' and the trial court judge's partition decision to the Montana
           Supreme Court, obtaining reversal on due process grounds and leading to full evidentiary
           trial and successful partition-in-kind judgment for client.

    •      Reported case - Tri-County Center Trust v. Oregon Department of State Lands, 298 Or
           835, 445 P3d 953 (2019) - contested case trial and appeal of compensatory wetland
           mitigation designation to deny removal/fill permit and cause unlawful "taking" of property.

    •      Reported case - Butler Block, LLC v. Agni Group, LLC, 240 Or App 548, 250 Or App 548
           (2011) - successfully reversed California real estate developer's purchase of Portland
           commercial property for apartment development, which was wrongly based on
           undervalued appraisal as purchase price, by prevailing both at trial in Multnomah County
           Circuit Court and on appeal including obtaining recovery of attorney fees for client.

    •      Reported case - Coast Equities, LLC v. Right Buy Properties, LLC, et al., 2015 WL
           1477901 (D. Or. 2015) - obtained dismissal of all fraud claims against resident alien
           clients in Oregon federal court action asserted by alleged purchaser of 200+ properties in
           Florida on grounds of lack of personal jurisdiction and improper venue in Oregon.

    •      Reported case -PNC Multifamily Capital Institutional Fund XX.XIV Limited Partnership,
           et al. v. AOH-Regent Limited Partnership, et al., 262 Or App 503, 329 P3d 773 (2014) -
           represented investor limited partner at trial in Multnomah County Circuit Court and in
           appellate court involving three Florida multifamily housing projects prosecuting claims for
           required repurchase of investor partner's interest due to general partner's breaches of the
           operating agreement, including obtaining appellate court decision reversing the lack of
           personal jurisdiction ruling of the trial court.

       •   Lone Rock Timber Management Co. v. Oregon State Land Board and Oregon Department
           of State Lands, Case No. 17CV27826-succ essful prosecution and settlement of claims
           against the State in Marion County Circuit Court for cancellation of the sale of Elliott State
           Forest (2017-2019).



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Exhibit A                                                                                            Exhibit J-1
Page 4 of 7             Case
                        Case 19-31883-dwh11
                             19-31883-dwh11           Doc
                                                      Doc 493
                                                          138      Filed
                                                                   Filed 11/22/21
                                                                         09/24/19                      10 of 20
   •       McLaughlin Neighborhood Association, et al. v. City of Oregon City, Case
           No. 16CV24270 -successful defense at trial in Clackamas County Circuit Court of park
           dedication claims of neighborhood organization involving City's public works operations
           center and buildings and 100-year history of City property.

   •       Represented retail tenant in lease payment disputes with former landlord, and in second
           case with current landlord over collecting tenant's sales revenues from consignment,
           including obtaining recovery of all attorney fees for client (2014- 2015).

   •       Obtained outright dismissal of landlord's claim against tenant (a national life insurance
           company) for alleged untimely exercise of option to early terminate commercial lease
           (2014).

Bank and Commercial Litigation

   •       Obtained dismissal of all claims by plaintiff developer in in Deschutes County Circuit
           Court against international bank for lender liability, tortious interference, and aiding and
           abetting involving high-end golf and condominium resort in Central Oregon - Pronghorn
           Properties, LLC v. Societe Generale S.A., et al./Pronghorn Development Company, LLC,
           et al. v. Scott Denney, et al., Deschutes County Circuit Court Case No. 10CV1191SF
           (2014).

   •       Successfully prosecuted over 3 ½ years in Clark County, Washington state court the
           contract claims of large international financial institution on California real estate
           development for payment of debt and defended against developer's counterclaims for
           breach of contract and fiduciary duties - Holland Partners Glo, LLC, et al. v. Capmark
           Finance, LLC, Clark County Superior Court Case No. 12-2-00793-8 (2012-2015).

   •       Represented major national lenders/banks (Bank of America and Bank of New York
           Mellon) in successfully prosecuting numerous residential and commercial real estate
           foreclosures and in defending against counterclaims for lender liability and statutory
           violations in both federal and state courts in Oregon, Washington, and Nevada (2011-
           2012).

   •       Reported case- Wells Fargo Bank, NA. v. The Ash Organization, Inc., 2010 WL 2681675
           (D. Or. 2015) - successfully prosecuted in Oregon federal court commercial property
           foreclosure for national loan servicer/lender and defended against lender liability and tort
           counterclaims by landowner involving one of the largest blocks of undeveloped land
           located along I-5 corridor in Portland Metropolitan area (2010-2011).

       •    Defended Portland automobile dealership against claims of breach of dealer/franchise
            agreement by major international auto manufacturer, and obtained restraining order against
            manufacturer in Oregon federal District Court, leading to favorable settlement-Auto Town
            Buick GMC, Inc. v. General Motors LLC, United States District Court Case No. 3:12-cv-
            01977-HZ (2012-2013).




                                                     2
Exhibit A                                                                                         Exhibit J-1
Page 5 of 7             Case
                        Case 19-31883-dwh11
                             19-31883-dwh11          Doc
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                                                         138     Filed
                                                                 Filed 11/22/21
                                                                       09/24/19                     11 of 20
   Construction Defect Litigation

   •   Successfully prosecuted numerous significant property damage and construction defect
       claims of owners of single-family homes in both Oregon and Washington state courts
       against contractors and design professionals to produce favorable settlements; successfully
       co-prosecuted claims of owners of multi-family housing projects in Oregon against
       contractors and design professionals for negligence and breach of contract in construction,
       including complex insurance coverage and statute oflimitation issues, leading to successful
       mediated settlements and recovery of property damages (2010- 2015).

   •   Successfully defended national investor/lender in Washington state court against general
       contractor claims for cost overruns from extensive construction defects on Native
       American housing project - Matthew Lewis v. Tulalip Housing Limited Partnership No. 3,
       Snohomish County Superior Court Case No. 11-2-06451-2 (2011-2012).

   Personal Injury/Premises Liability

   •   Appleyard v. Portland of Portland, Multnomah County Circuit Court Case
       No. 16CV05139 - successful jury trial defense (2017) of airport authority in premises
       liability claim for trip-and-fall (on appeal).

   •   Reported case - Helland v. Hoffman Construction Company of Oregon, 2013 WL 5937001
       (D. Or. 2013)- defended major Oregon airport authority and general contractor in Oregon
       federal court in obtaining dismissal of Employer Liability Act and Safe Employment Act
       claims of construction worker for permanent personal injury on airport construction
       project, leading to minimal settlement (2013-2014).

   •   Obtained outright dismissal of plaintiffs slip-and-fall and permanent injury claim against
       Oregon airport authority in Oregon state court (2013).

   •   Successfully defended Oregon airport authority in arbitration against public utility's claim
       of property damages at airport (2012).

   •   Successfully/prosecuted property damages claim (water damage) in Oregon state court
       (Marion County) on behalf of national industrial gas supplier against roofing contractor
       including recovery of all client's attorney fees.

   •   Prosecuted claims of homeowner against general contractor and subcontractor in
       Washington state court for property damages caused by work-related landslide, leading to
       successful mediated settlement (2015).

Shareholder/Partnership Litigation

   •   Successfully defended managing 50% shareholder in multiple week court trial in Oregon
       state court and defeated other 50% shareholder's oppression and forced removal claims
       involving closely-held forest products company, leading to compromise buyout and
       avoidance of takeover or LLC dissolution - Lynn Meier v. John Taylor, et al, Linn County
       Circuit Court Case No. 083689 (2010).

                                                3
Exhibit A                                                                                     Exhibit J-1
Page 6 of 7         Case
                    Case 19-31883-dwh11
                         19-31883-dwh11         Doc
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                                                    138      Filed
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                                                                   09/24/19                     12 of 20
   •   Successfully restrained/enjoined other partner in closely-held Washington partnership
       from disposing of sales proceeds of dozens of properties purchased at auction and resold,
       and obtained full accounting of proceeds, leading to favorable settlement - Silverland
       Properties, LLC, et al. v. Nylund Homes, Inc., et al., Clark County Superior Court Case
       No. 09-2-02958-3.

   •   Represented investor limited partners in numerous disputes with general partners in limited
       partnerships on affordable multi-family housing projects in Oregon and Washington
       (low-income housing tax credit financed), including state and federal court litigation to
       remove general partner and/or developer on several projects for breach of
       contract/fiduciary duties (2010 - 2015).




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                                                4
Exhibit A                                                                                    Exhibit J-1
Page 7 of 7             Case
                        Case 19-31883-dwh11
                             19-31883-dwh11     Doc
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                                                            Filed 11/22/21
                                                                  09/24/19                     13 of 20
                 Exhibit B
Proposed Order Granting Debtors’
 Application to Employ Bateman
    Seidel P.C. as Attorneys in
  Washington County Case No.
            18CV17059




                                                      Exhibit J-1
     Case
     Case 19-31883-dwh11
          19-31883-dwh11   Doc
                           Doc 493
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                                     Filed 11/22/21
                                           09/24/19     14 of 20
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 10
                                         UNITED STATES BANKRUPTCY COURT
 11
                                               FOR THE DISTRICT OF OREGON
 12
        In re                                             Bankruptcy Case Nos.:
 13
        15005 NW CORNELL LLC, and                         19-31883-dwh11 (Lead Case)
 14
        VAHAN M. DINIHANIAN, JR.                          19-31886-dwh11
 15
                                  Debtors. 2              Jointly Administered Under
 16                                                       Case No. 19-31883-dwh11

 17                                                       ORDER GRANTING DEBTORS’
                                                          APPLICATION TO EMPLOY BATEMAN
 18                                                       SEIDEL P.C. AS ATTORNEYS IN
                                                          WASHINGTON COUNTY CASE NO.
 19                                                       18CV17059
                 THIS MATTER having come before the Court for a hearing on the application (the “Application”)
 20
        of 15005 NW Cornell LLC (“Cornell“), and Vahan M. Dinihanian, Jr. (“Dinihanian") debtors and
 21
        debtors-in-possession (collectively, “Debtors”), for an Order to Employ Bateman Seidel P.C. as Attorneys
 22
        in Washington County Case No. 18CV17059 (the “Partition Case”); the Court having reviewed the
 23
        Application and accompanying statement, and being otherwise duly advised; now, therefore,
 24

 25
        2
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
 26     number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871).
                                                                                      PERKINS COIE LLP
 PAGE   1- ORDER GRANTING DEBTORS’ APPLICATION TO                                1120 N.W. Couch Street, 10th Floor
Exhibit B EMPLOY BATEMAN SEIDEL P.C. AS ATTORNEYS                                    Portland, OR 97209-4128
Page 1 of 2 IN WASHINGTON COUNTY CASE NO. 18CV17059                                    Phone: 503.727.2000
        134541-0001/145332360.3                                                         Fax: 503.727.2222 Exhibit  J-1
                                    Case
                                    Case 19-31883-dwh11
                                         19-31883-dwh11       Doc
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                                                                          Filed 11/22/21
                                                                                09/24/19                      15 of 20
 1               IT IS HEREBY ORDERED that the Application is approved and Debtors be and hereby are

 2      authorized to employ Bateman Seidel P.C., pursuant to subsection 327(e) of the Bankruptcy Code, as

 3      special ordinary course counsel in the property partition litigation pending in the Partition Case, and is

 4      further authorized to pay said attorneys a reasonable fee for its services upon application and order of the

 5      Court.

 6                                                          ###
        Presented By:
 7

 8        PERKINS COIE LLP
 9        By: /s/ Douglas R. Pahl
              Douglas R. Pahl, OSB No. 950476
 10           DPahl@perkinscoie.com
              Matthew J. Mertens, OSB No. 146288
 11           MMertens@perkinscoie.com
              PERKINS COIE LLP
 12           1120 N.W. Couch Street, Tenth Floor
              Portland, OR 97209-4128
 13           Telephone: 503.727.2000
              Facsimile: 503.727.2222
 14
         Counsel for Debtor and Debtor-in-Possession
 15      15005 NW Cornell LLC
 16
          MOTSCHENBACHER & BLATTNER, LLP
 17
          By: /s/ Nicholas J. Henderson
 18           Nicholas J. Henderson, OSB No. 074027
              nhenderson@portlaw.com
 19           Motschenbacher & Blattner, LLP
              117 SW Taylor St., Suite 300
 20           Portland, OR 97204
              Telephone: (503) 417-0508
 21           Facsimile: (503) 417-0528
 22      Counsel for Debtor and Debtor-in-Possession
         Vahan M. Dinihanian, Jr.
 23

 24

 25

 26
                                                                                      PERKINS COIE LLP
 PAGE   2- ORDER GRANTING DEBTORS’ APPLICATION TO                                1120 N.W. Couch Street, 10th Floor
Exhibit B EMPLOY BATEMAN SEIDEL P.C. AS ATTORNEYS                                    Portland, OR 97209-4128
Page 2 of 2 IN WASHINGTON COUNTY CASE NO. 18CV17059                                    Phone: 503.727.2000
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                                  Case
                                  Case 19-31883-dwh11
                                       19-31883-dwh11         Doc
                                                              Doc 493
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                                                                          Filed 11/22/21
                                                                                09/24/19                      16 of 20
Rule 2014 Verified Statement for
     Proposed Professional




                                                      Exhibit J-1
     Case
     Case 19-31883-dwh11
          19-31883-dwh11   Doc
                           Doc 493
                               138   Filed
                                     Filed 11/22/21
                                           09/24/19     17 of 20
                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON
In re                                    )
15005 NW CORNELL LLC, and                            19-31883-dwh11
                                         ) Case No. ________________
VAHAN M. DINIAHNIAN, JR.                 )          19-31886-dwh
                                         ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                                ) FOR PROPOSED PROFESSIONAL

Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        Prepetition fees of $170,071.78 plus $2,160.00.

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
As set forth in response to paragraph 1, Applicant is listed as a creditor on the debtors' schedules and,
with Debtors' agreement, Applicant will seek payment of such unpaid prepetition fees.



1114 (11/30/09)       Page 1 of 3
                                                                                                 Exhibit J-1
                            Case
                            Case 19-31883-dwh11
                                 19-31883-dwh11           Doc
                                                          Doc 493
                                                              138   Filed
                                                                    Filed 11/22/21
                                                                          09/24/19                 18 of 20
14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
One partial payment of $50,000.00 was made on March 13, 2019 by Eagle Holdings LLC or Vahan M.
Dinihanian, Jr. on the partition case.




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
Vahan Megar Dinihanian, Jr. - Managing Member

Eagle Holdings LLC - Affiliate




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
Applicant has also represented Vahan M. Dinihanian, Jr. in preparing for a mediation (not yet taken
place) to resolve other non-partition disputes with his sister.




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
Applicant has been informed that the information provided in Perkins Coie LLP's and Motschenbacher
& Blattner, LLP's Rule 2014 Verified Statement for Proposed Professional, are accurate and is
incorporated herein.



1114 (11/30/09)     Page 2 of 3
                                                                                               Exhibit J-1
                          Case
                          Case 19-31883-dwh11
                               19-31883-dwh11          Doc
                                                       Doc 493
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                                                                       09/24/19                  19 of 20
21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
Applicant was initially engaged by Vahan M. Dinihanian, Jr. as the managing member of 15005 NW
Cornell LLC and as the sole member of Eagle Holdings, LLC. Applicant represented 15005 NW Cornell
LLC as the plaintiff in the state partition case and wishes to continue to do so. Vahan M. Dinihanian Jr.
agreed to a Line of Credit Deed of Trust to be placed on his Skyline Blvd real estate which is to secure
payment of attorney fees, and was recorded
in January 2019.



22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
Applicant has been informed that the information provided in Perkins Coie LLP's and Motschenbacher
& Blattner, LLP's Rule 2014 Verified Statement for Proposed Professional, are accurate and is
incorporated herein.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
Vahan M. Dinihanian, Jr. signed on January 14, 2019 a Line of Credit Deed of Trust in the amount not to
exceed $250,000 with Bateman Seidel as one of the beneficiaries (Daniel C. Lorenz is the other
beneficiary) to secure payment of attorney fees owed and to be owed by 15005 NW Cornell LLC and by
him personally. The real property subject to the Deed of Trust is 237 NW Skyline Blvd., Portland,
Oregon 97210 (Document No. 2019-007750).




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
Applicant has been informed that the information provided in Perkins Coie LLP's and Motschenbacher
& Blattner, LLP's Rule 2014 Verified Statement for Proposed Professional, are accurate and is
incorporated herein.




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               Gregory J. Miner, Bateman Seidel P.C.
                                                                              Applicant

1114 (11/30/09)    Page 3 of 3
                                                                                               Exhibit J-1
                          Case
                          Case 19-31883-dwh11
                               19-31883-dwh11        Doc
                                                     Doc 493
                                                         138    Filed
                                                                Filed 11/22/21
                                                                      09/24/19                   20 of 20
                                 UNITED STATES BANKRUPTCY COURT
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In re                                    )
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 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

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    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

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    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
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1114 (11/30/09)       Page 1 of 3
                                                                                                 Exhibit J-2
                            Case
                            Case 19-31883-dwh11
                                 19-31883-dwh11           Doc
                                                          Doc 493
                                                              138   Filed
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                                                                          09/24/19                   1 of 3
14. The applicant has no interest materially adverse to the interest of the estate or of any class of
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1114 (11/30/09)     Page 2 of 3
                                                                                               Exhibit J-2
                          Case
                          Case 19-31883-dwh11
                               19-31883-dwh11          Doc
                                                       Doc 493
                                                           138   Filed
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                                                                       09/24/19                    2 of 3
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    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
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I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               Gregory J. Miner, Bateman Seidel P.C.
                                                                              Applicant

1114 (11/30/09)    Page 3 of 3
                                                                                               Exhibit J-2
                          Case
                          Case 19-31883-dwh11
                               19-31883-dwh11        Doc
                                                     Doc 493
                                                         138    Filed
                                                                Filed 11/22/21
                                                                      09/24/19                     3 of 3
 1                                    CERTIFICATE OF SERVICE

 2          On November 22, 2021, I served copies of

 3   EXHIBIT LIST FOR TASHA TEHERANI-AMI, IN HER CAPACITY AS THE TRUSTEE OF
     THE SONJA DINIHANIAN GST TRUST DTS 1/1/11 EXHIBIT LIST FOR TASHA
 4   TEHERANI-AMI, IN HER CAPACITY AS THE TRUSTEE OF THE SONJA DINIHANIAN
     GST TRUST DTS 1/1/11 RE: OBJECTION TO CLAIMS
 5
     on the following entitled to notice:
 6
            1) through CM/ECF:
 7
      Douglas R. Pahl                                  Nicholas J. Henderson
 8     Attorney for debtor 15005 NW Cornell LLC        Troy Sexton
                                                        Attorneys for debtor Vahan M. Dinihanian
 9
      Stephen P. Arnot                                 Eleanor A. Dubay
10     U.S. Trustee                                     Attorney for creditor Tasha Teherani-Ami
11    Russell D. Garrett                               Daniel L. Steinberg
       Attorney for Alexander LLC, et al.               Attorney for Cornell Road LLC; Lillian
12                                                     Logan

13    Travis W. Hall, OSB No. 984513
      thall@batemanseidel.com
14    Bateman Seidel PC
      1000 SW Broadway, Suite 1910
15    Portland, OR 97205

16          DATED: November 22, 2021

17                                                      /s/ Bruce H. Orr
                                                       Bruce H. Orr, OSB No. 813297
18                                                     bho@wysekadish.com

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                          Case 19-31883-dwh11     Doc 493      Filed 11/22/21
